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18                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
19
20   WESTERN WATERSHEDS PROJECT;                      )      Case No.:
     GREAT BASIN RESOURCE WATCH;                      )
21   BASIN AND RANGE WATCH; and                       )
     WILDLANDS DEFENSE,                               )      COMPLAINT FOR VACATUR,
22                                                    )      EQUITABLE, DECLARATORY
23                             Plaintiffs,            )      AND INJUNCTIVE RELIEF
     vs.                                              )
24                                                    )
     UNITED STATES DEPARTMENT OF THE                  )
25   INTERIOR; U.S. BUREAU OF LAND                    )
26   LAND MANAGEMENT; and ESTER M.                    )
     McCULLOUGH, District Manager,                    )
27   BLM’s Winnemucca Office,                         )
                                                      )
28                             Defendants.            )




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 1                                         INTRODUCTION
 2   1.       Plaintiffs, Western Watersheds Project (WWP), Great Basin Resource Watch
 3            (GBRW), Basin and Range Watch (BRW), and Wildlands Defense (WD), file this
 4
              suit for vacatur, and equitable, declaratory and injunctive relief under the
 5
              Administrative Procedure Act (APA), 5 U.S.C. §§ 701-706, Federal Land Policy
 6
              Management Act of 1976 (FLPMA), 43 U.S.C. §§ 1701 et seq., the National
 7
              Environmental Policy Act (NEPA), 42 U.S.C. §§ 4321 et. seq., other federal laws,
 8
              and their implementing regulations and policies, challenging the decisions of the
 9
              United States Department of the Interior (DOI) and its Bureau of Land Management
10
              (BLM) to approve the Thacker Pass Lithium Mine Project (Project/project or
11
              Mine/mine) and Plans of Operations, a large open pit mining project on public lands
12
              proposed by Lithium Nevada Corporation (LNC).
13
     2.       The Defendant Interior Department put the Project on an “expedited” track to
14
15            “streamline environmental review” and provide for quick approval by the Trump

16            Administration. See July 15, 2020 letter from Katharine Sinclair Macgregor, Interior

17            Department to Larry Kudlow, Director of the National Economic Council. On

18            January 15, 2021—five days before the end of the Administration—Ester M.

19            McCullough, BLM District Manager for the Winnemucca District Office, approved

20            the Project and its Plans of Operations in a “full force and effect” decision effective
21            immediately.
22   3.       In the rush to implement the Project, Defendants violated federal environmental
23            statutes and swept under the rug the mine’s serious environmental impacts.
24   4.       Plaintiffs challenge the Record of Decision (ROD) approving LNC’s two Plans of
25            Operations (PoO): (1) for the mine itself; and (2) for the “North/South Exploration
26            Project,” both proposed in the same area. Plaintiffs also challenge the Final
27            Environmental Impact Statement (FEIS) BLM prepared for the mine and exploration
28
              projects. The ROD was based on the FEIS, which was issued in December of 2020

              by BLM’s Winnemucca District, Humboldt River Field Office.


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 1   5.        For these and the related reasons addressed herein, Plaintiffs ask this Court to declare
 2             that the ROD, FEIS, and Project approvals and decisions signed and prepared by
 3             BLM for the Project violate federal law. Plaintiffs ask this court to set aside/vacate
 4
               and remand the decisions to the BLM, and enjoin any construction, operation, or
 5
               development of the Project until the violations have been corrected.
 6
     The Thacker Pass Mine Project and Its Severe Impacts to Public Lands, Wildlife, and Public
 7   Resources
 8   6.        The Thacker Pass Mine Project will be one of the largest open pit mines in the region.
 9             Facilities associated with the mine include development of an open pit mine; waste
10
               rock storage facilities; a coarse gangue (valueless mineral) stockpile; a large
11
               processed tailings waste dump facility; groundwater pumping/dewatering, growth
12
               media stockpiles; haul and secondary roads; electrical transmission lines; and
13
               additional mine facilities to support mining and lithium production operations.
14
     7.        The mine will be developed over two “phases” spanning the 41-year “life” of the
15
               Project, although many environmental impacts will be permanent. Phase 1 would
16
               include construction of the mine facilities and mining and processing for the first 4
17
               years of mine life. Phase 2 would occur from years 5 to 41 of the mine life, after
18
               which the Project would enter the reclamation and closure period (for a minimum of 5
19
               years). The ROD also approves a new extensive exploration drilling project in the
20
               same area.
21
22   8.        The Project area covers 17,933 acres of land. 10,468 acres are associated with the

23             mine itself and 7,465 acres are associated with the exploration project.

24   9.        Although the Project would have significant effects across the region, the total direct

25             disturbance footprint would be approximately 5,695 acres. All Project operations

26             would be located on public lands administered by the BLM, Winnemucca District

27             (WD).
28




                                                     3
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 1              Facility                                                          Disturbance Acres
 2   Mine Pit                                                                                1,099.8
     West WRSF                                                                                 160.7
 3   East WRSF                                                                                 137.2
 4   Mine Facilities, ROM
                                                                                                  48.3
     Stockpile, Attrition Scrubbing
 5   CGS                                                                                         318.3
     Processing Facility (Lithium
 6                                                                                               555.3
     and Sulfuric Acid Plant)
 7   Clay Tailings Filter Stack                                                                 1,166.1
     Mine Facilities Power Line,
 8   Quinn Power Line, and Water                                                                 267.7
 9   Supply
     Exploration                                                                                  300.0
10   Inter-facility Disturbance                                                                 1,641.4
     Total                                                                                      5,694.8
11
                FEIS at 2-3, Table 2-1.
12
     10.        The mine pit would be roughly 400 feet deep. FEIS Figure 2-3. Approximately
13
                230.0 million cubic yards (CY) of ore would be mined, and 190.2 million CY of
14
15              waste rock material would be generated over the 41-year life of the mine. FEIS at 2-4.

16              The total height of the West waste rock storage facility (WRSF) would be 482 feet.

17              The total height of the East WRSF would be 208 feet. FEIS at 2-5. The coarse

18              gangue material stockpile (CGS) would be 200 feet tall. FEIS at 2-7. The permanent

19              clay tailings filter stack (CTFS) dump would hold 353.6 million CY of processed

20              waste and be 350 feet high. FEIS at 2-9 to 2-10.
21   11.        The open pit would be backfilled during the life of the mine. ROD at 3. At the end
22              of mine life, the open pit would be completely backfilled. Id. However, due to the
23              long-term effects of the Project’s groundwater pumping and water use, the
24              groundwater in the area would continue to be lowered by the mine into the indefinite
25              future.
26   Severe Impacts to Water Resources
27   12.        The mine will cause serious groundwater pollution. The FEIS predicts that the mine
28
                pit backfill would cause antimony in the groundwater to exceed the applicable

                Nevada water quality standard.


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 1   13.      In its response to comments, BLM admitted that the Project will violate water quality
 2            requirements for antimony: “Geochemical modeling results indicate that pore water
 3            in backfill will exceed MCLs [Maximum Contaminant Levels] for longer than 20
 4
              pore volumes (Water Quantity and Water Quality Impacts report, Appendix P of this
 5
              EIS).” FEIS at R-121.
 6
     14.      Yet under FLPMA and BLM’s mining regulations (43 C.F.R. Part 3809), BLM
 7
              cannot approve mining operations that are predicted to violate water quality
 8
              standards at any time.
 9
     15.      Antimony is a federally-designated harmful pollutant. See U.S. Dept. of Health and
10
              Human Services, Agency for Toxic Substances and Disease Registry, Toxicological
11
              Profile for Antimony and Compounds, October 2019,
12
              https://www.atsdr.cdc.gov/ToxProfiles/tp23.pdf
13
     16.      Because of this predicted groundwater contamination, BLM should have, but did not,
14
15            analyze or require mitigation to prevent the Mine from exceeding the Nevada water

16            quality standard.

17   17.      The U.S. Environmental Protection Agency (EPA) strongly criticized BLM’s failure

18            to adequately analyze impacts to water quality, and ensure against any potential

19            exceedance of water quality standards:

20               Unmanaged Groundwater Quality Degradation
                 As explained in the Final EIS, adverse effects to groundwater quality are
21               expected from all action alternatives. Without mitigation, a plume of
22               groundwater exceeding the Nevada Division of Environmental Protection
                 Profile I Reference Values for antimony is expected to flow uncontrolled
23               from the backfilled pit. According to fate and transport modeling included in the
                 EIS (Appendix P Part 1 p. 125-133), the preferred alternative (Alternative A)
24               would result in a plume extending approximately one-mile (p. 4-26) downgradient
25               of the pit 300-years post-closure at levels still above Profile I (Appendix P Part 1
                 p. 132-133).
26
              “EPA’S DETAILED COMMENTS ON THE FINAL ENVIRONMENTAL
27
              IMPACT STATEMENT FOR THE THACKER PASS PROJECT, HUMBOLDT
28




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 1            COUNTY, NEVADA, JANUARY 4, 2020,” at 1, contained in EPA’s January 4,
 2            2021 letter to BLM (EPA’s Detailed Comments on FEIS)(emphasis added).
 3   18.      EPA further noted that the FEIS failed to adequately review mitigation required to
 4
              prevent this contamination:
 5
                 While the Final EIS includes three conceptual options that have the potential to
 6               mitigate antimony groundwater contamination (Appendix P Part 1 p. 154-159),
 7               the plans are not developed with an adequate level of detail to assess whether
                 or how groundwater quality downgradient from the pit would be effectively
 8               mitigated. In our comments on the Draft EIS, the EPA recommended more
                 detailed information about how effective these potential mitigation options could
 9               be, and an evaluation of additional disturbance and impacts from implementing
10               the proposed mitigation options (40 CFR 1508.25(a)(1)(iii)).

11            EPA’s Detailed Comments on FEIS, at 1 (emphasis added). BLM never provided the

12            required detailed information and analysis requested by EPA.

13   19.      In addition to the contaminated water from the mine pit, seepage from the tailings

14            waste facility is predicted to be very toxic with extremely high levels for over 20

15            constituents including uranium, radium, radioactivity, and very low pH (high acidity).

16            “[A]luminum, arsenic, antimony, beryllium, cadmium, chromium, copper, fluoride,
17            iron, lead, magnesium, mercury, nickel, sulfate, thallium, TDS, and zinc were leached
18            under low pH conditions at concentrations above Profile I NRVs [Nevada Reference
19            Values].” FEIS Appendix B, LNC Mine Plan at 41. Further, “testing indicate[s] that
20            for the clay tailings sample, uranium, gross alpha and radium 226/radium 228 exceed
21            the Profile IR NRVs.” Id.
22   20.      The FEIS does not analyze how this drainage will be treated nor provide sufficient
23
              details as to how this highly toxic and dangerous drainage will the managed, and for
24
              how long, to allow the public to evaluate the effectiveness of any future mitigation
25
              approach.
26
     21.      The FEIS failed to present information and analysis as to how long it is anticipated
27
              that drainage from both of these facilities will need to be captured and treated.
28




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 1   22.      As noted below, BLM failed to provide any analysis or numbers at all regarding the
 2            financial costs needed for the long-term mitigation and treatment of these toxic
 3            waters, as required by BLM regulations.
 4
     23.      The mine’s groundwater pumping would also significantly harm local streams,
 5
              springs, and wetlands. The mine’s drawdown of the local aquifer covers, at a
 6
              minimum, roughly 2.5 miles wide due to the pumping at the mine pit area, and
 7
              roughly 2 miles across due to the pumping at the production well site near the east
 8
              end of the Project site. FEIS Figure 4.3-8 (showing groundwater drawdown and
 9
              affected waters that would suffer reduced or lost flows).
10
     24.      In addition to the large pumping and dewatering operations, the mine would
11
              consumptively use large amounts of water each year for the 41-year life of the mine:
12
              2,600 AFA (acre-feet annually) during Phase I (years 1-4), and 5,200 AFA during
13
              Phase 2 (years 5-41). FEIS at 2-13. An Acre-Foot (AF) of water is approximately
14
15            325,851 gallons.

16   Unmitigated Wildlife Impacts

17   25.      The mine and exploration Project will also result in severe and unmitigated impacts to

18            protected and special status birds, wildlife, and plants in the Project area, including

19            federally protected species and State of Nevada Species of Conservation Concern and

20            At-Risk species, by permanently destroying irreplaceable habitats and cutting off
21            connectivity between habitats to the north and south of the Project area. In its
22            comments to BLM on the FEIS, the Nevada Department of Wildlife (NDOW) was
23            very critical of the Project’s impacts to wildlife: “We continue to find that the
24            Preferred Alternative will likely result in adverse impacts to wildlife, ground and
25            surface waters, and riparian vegetation within and outside the project area. These
26            impacts include effects to an array of species and will likely have permanent
27            ramifications on the area’s wildlife and habitat resources.” NDOW January 4, 2021
28
              letter to Defendant Ester M. McCullough, BLM District Manager, at 1.




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 1   26.      “Groundwater dependent habitats in the Montana Mountains north of the Project area
 2            boundary are critical to greater sage-grouse, Lahontan cutthroat trout, mule deer,
 3            pronghorn, and many other wildlife species. Given the arid nature of this region,
 4
              water sources, riparian vegetation, and wet-meadow habitats are essential to wildlife
 5
              and the loss or degradation of these areas will have significant negative impacts on
 6
              wildlife populations.” Id.
 7
     27.      The FEIS acknowledges these significant and unmitigated impacts to wildlife:
 8
 9               Surface disturbance associated with mining activities and development of
                 mine facilities, including the open pits, WRSF, CGS and GMSs, CTFS, process
10               plant and ancillary facilities, and roads, water lines, and power lines would
                 directly affect wildlife through the loss of potentially suitable habitat by
11               vegetation removal, and removal of seeps and springs and seasonal water
12               sources for wildlife. For some species, disturbance would remove available
                 habitat for the life of the mine, or longer depending on the success of reclamation.
13               Habitat loss or alteration would result in direct losses of some species,
                 particularly smaller, less mobile species, or species requiring specific
14               resources or habitat within the Project area. Habitat loss could cause
15               displacement of more mobile species (e.g., bats, birds), or generalist species into
                 adjacent habitats. Most disturbance would occur within sagebrush communities,
16               shrublands (e.g., greasewood, saltbush), native grassland, and invasive annual-
                 dominated vegetation (Figure 4.5-2, Appendix A).”
17
              FEIS at 4-34 (emphasis added).
18
     28.      But the generalized discussion of these impacts gives short shrift to potentially
19
              catastrophic impacts to the region’s protected, sensitive, and vulnerable species.
20
     29.      One of the most critical concerns involves the Project’s serious impacts to greater
21
              sage-grouse (GRSG or sage-grouse) that BLM failed to adequately analyze and
22
              mitigate against.
23
24   30.      The greater sage-grouse is a ground-nesting bird known for its elaborate mating dance

25            performed on breeding grounds called “leks,” and imperiled by destruction and

26            modification of its sagebrush habitats.

27   31.      The Project area lies within Western Great Basin “Priority Area for Conservation”

28            (PAC), identified by the U.S. Fish and Wildlife Service, and the GRSG Lone Willow

              Population Management Unit (PMU) designated by NDOW. Most of the Project area



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 1            is identified by BLM as Priority Habitat Management Area (PHMA) and General
 2            Habitat Management Area (GHMA) for GRSG. See FEIS at GF-18, Figure 4.18-8,
 3            Appendix A. PHMA is defined as BLM-administered lands identified as having the
 4
              highest value to maintaining sustainable GRSG populations. FEIS at GF-18.
 5
     32.      The Lone Willow PMU is largely “essential irreplaceable” habitat for sage-grouse,
 6
              but 48 percent of the PMU burned in wildfires, mostly comprising the western half,
 7
              degrading its value for the species. As a result, the eastern half of the PMU, which
 8
              includes the Montana mountains, is of elevated importance, and provides high-quality
 9
              habitat, just to the north of the Project area, and additional habitat to the south. The
10
              Project would sever these two portions of the PMU.
11
     33.      Sage-grouse have been documented in the Project area and use it for breeding,
12
              nesting, brood-rearing and winter habitats. According to the FEIS:
13
                 There is one active lek (Montana-10) within 0.96 miles of the Project area, and
14
                 three active lek sites within 3.1 miles of the Project area (Figure 4.5-10, Appendix
15               A). NDOW lek observations have documented birds displaying at this lek within
                 0.75 miles of the proposed Project area (NDOW 2020).
16
              FEIS at 4-42. Mapping shows six active and two inactive sage-grouse leks within or
17
              adjacent to the Project area. See FEIS Figure 4.5-10. Yet the FEIS does not disclose
18
              that there are additional active sage-grouse leks in the southeastern portion of the
19
              PMU.
20
     34.      Nearly the entire Project area occurs within moderate to high quality sage-grouse
21
              winter habitat, and the northwestern portion of the Project area, where the mine pit
22
              will be located, is high quality brood-rearing habitat. FEIS Figures N.2, N.3; see also
23
24            FEIS at G-18 (describing habitat).

25   35.      The FEIS does not disclose how the destruction of these important seasonal habitats,

26            especially when considered cumulatively in light of the large fires that burned large

27            portions of the PMU, will affect sage-grouse, either within the Project area, the PMU,

28            or the Western Great Basin PAC.




                                                    9
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 1    36.      In addition, noise levels associated with the Project at the Montana-10 and Pole Creek
 2             01 leks are expected to exceed levels known to cause lek abandonment. The
 3             Montana-10 lek is one of the three largest leks in the Lone Willow PMU, where
 4
               NDOW has stated that “the loss of this lek would likely be of high consequence to
 5
               greater sage-grouse populations.” FEIS at R-184 (NDOW comment to BLM on Draft
 6
               EIS, #P830). But, the FEIS does not disclose how noise from the Project may cause
 7
               or contribute to abandonment of this important lek, or affect sage-grouse populations
 8
               in the Project area, within the PMU, or within the Western Great Basin PAC.
 9
      37.      Another critical wildlife species that will be significantly affected by the mine is the
10
               pronghorn antelope. The Project will destroy nearly 5,000 acres of pronghorn winter
11
               range for the life of the mine or longer, and 427 acres of summer range. It will also
12
               sever two critical pronghorn movement corridors. One facilitates seasonal access
13
               between limited use and winter range habitat to the south of the Project area and
14
15             winter range, summer range, and year-round habitat to the north of the Project area.

16             The other enables year-round daily movement of pronghorn between the Quinn River

17             Valley to the east and the Montana Mountains to the west. The construction of

18             Project facilities and the associated loss of habitat is likely to destroy some seasonal

19             habitats and prohibit or impede pronghorn movement between other remaining year-

20             round and seasonal habitats.
21    38.      Yet the FEIS does not consider or disclose how severing these pronghorn movement
22             corridors, or destroying nearly 5,000 acres of pronghorn winter range, will impact
23             pronghorn populations. The FEIS does not analyze the cumulative effect the Project,
24             coupled with other activities in the region, will have on pronghorn habitat and
25             movement.
26    39.      Other vulnerable and protected species that will be significantly affected include
27             golden eagles, various amphibians, and springsnails—including the endemic King’s
28
               River pyrg—dependent on the riparian areas and springs that will be dewatered or

               destroyed by the Project, as well as several sensitive plant species.


                                                    10
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 1    40.      BLM also failed to adequately analyze the impacts to Lahontan Cutthroat Trout
 2             (LCT), which is protected under the federal Endangered Species Act (ESA), due to
 3             BLM’s unsupported position that the Project will not have any effect on LCT in
 4
               Crowley Creek, Pole Creek, and habitat within the Project area. BLM erroneously
 5
               assumed that there was no LCT stream habitat that would be affected by the Project’s
 6
               dewatering and other operations while rejecting NDOW’s recommendation that a
 7
               quantitative buffer be included for Pole Creek, Crowley Creek, and spring sites.
 8
      Violation of Binding BLM Visual Protection Standards
 9
      41.      The Project will result in unmitigated impacts to Nevada’s rural visual landscape, in
10
               violation of the protective standards in BLM’s Winnemucca District Resource
11
               Management Plan (RMP).
12
      42.      The following recent photos of the Project site depict the dramatic landscape and
13
               evidence why the area’s scenic qualities are protected by the RMP standards:
14
15
16
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18
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14
15
16    43.      Due to the Project’s massive scale and impacts, BLM admitted that the Project will

17             violate the Winnemucca RMP’s Visual Resource Management (VRM) Class II

18             protection standards:
19                Overall, the construction and operation of the Proposed Alternative would
                  not meet the current VRM Class II objectives, and would not conform with
20                the existing ROD/RMP (see Section 1.5.3). The existing character of the
21                landscape would not be retained, and the level of change to the characteristic
                  landscape would be noticeable and likely attract the attention of the casual
22                observer. Overall, the construction and operation of Alternative A would not
                  meet the current VRM Class II objectives, and would not conform with the
23                existing ROD/RMP (see Section 1.5.3).
24             FEIS at 4-101 (emphasis added). Almost the entire site is located within the lands
25             protected by the VRM Class II standard. FEIS at Figure 4.15-1. Under FLPMA,
26             BLM cannot approve activities on BLM-managed land that would violate the
27
               applicable RMP.
28




                                                   12
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 1                                         JURISDICTION AND VENUE
 2    44.      This is a suit pursuant to the APA, FLPMA, NEPA, and other federal statutes,
 3             regulations and requirements. Jurisdiction over this action is conferred by 28 U.S.C.
 4
               §§ 1331 (federal question), 2201 (declaratory relief), and 2202 (injunctive relief).
 5
      45.      Venue is proper in the District of Nevada pursuant to 28 U.S.C. §§ 1391 (b) and (e).
 6
               The BLM Winnemucca District Office, and named Defendant Ester M. McCullough,
 7
               who issued the FEIS and ROD, are located in Nevada. The Thacker Pass Project is
 8
               located in Humboldt County, Nevada. Some or all Plaintiffs are located and reside in
 9
               Nevada.
10
                                                 PARTIES
11
      46.      Plaintiff Western Watersheds Project (WWP) is a non-profit organization with more
12
               than 12,000 members and supporters whose mission is to protect and restore western
13
               watersheds and wildlife through education, public policy initiatives and legal
14
15             advocacy. Western Watersheds Project has longstanding interests in public land

16             management in Nevada and employs a Nevada-Oregon Director who lives in Nevada.

17             Western Watersheds Project and its staff and members use and enjoy the public lands

18             and their wildlife, cultural and natural resources for health, recreational, scientific,

19             spiritual, educational, aesthetic, and other purposes, including in Nevada. Western

20             Watersheds Project also has a direct interest in mineral development that occurs in
21             areas with sensitive wildlife populations and important wildlife habitat, such as
22             greater sage-grouse and designated sage-grouse habitat management areas. The
23             Project would be located in and have affects to lands and waters where Western
24             Watersheds Projects staff and members have enjoyed, and intend to continue enjoying
25             in the coming months, camping, hiking, photographing natural high desert beauty,
26             appreciating golden eagles, pronghorn, greater sage-grouse and other wildlife in the
27             area. These uses will be immediately, irreparably, and significantly harmed by the
28
               Project and related operations.




                                                     13
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 1    47.      Plaintiff Great Basin Resource Watch (GBRW) is a non-profit organization based in
 2             Reno, Nevada that is concerned with protecting the Great Basin’s land, air, water,
 3             wildlife and communities from the adverse impacts of hardrock mining. GBRW
 4
               members include ranchers, sportsmen, conservationists, and Native Americans
 5
               dedicated to protecting the communities, land, air, water and Native American
 6
               resources of the Great Basin. Members of GBRW have used, enjoyed, and valued the
 7
               area of the Project, including the Project site, for many years. Members of GBRW
 8
               hike, view and photograph wild plant and animal life, and generally enjoy using the
 9
               area of the Project for recreational, historical, conservation, and aesthetic purposes.
10
               Members of GBRW intend on continuing to use and value the lands at, and affected
11
               by, the Project during 2021 and in future years. These uses will be immediately,
12
               irreparably, and significantly harmed by the Project and related operations.
13
      48.      Plaintiff Basin and Range Watch (BRW) is a non-profit organization working to
14
15             conserve the deserts of Nevada and California and to educate the public about the

16             diversity of life, cultures, and history of the desert, as well as sustainable local

17             renewable energy alternatives. One of BRW’s main goals is to identify the problems

18             of large-scale mineral and energy extraction. We work to find solutions that will

19             preserve our natural ecosystems, public lands, open spaces, and quality of life for

20             local communities. Members of BRW hike, view and photograph wild plant and
21             animal life, and generally enjoy using the area at the Project site for recreational,
22             historical, conservation, and aesthetic purposes. Members of BRW intend on
23             continuing to use and value the lands at, and affected by, the Project during 2021 and
24             in future years. These uses will be immediately, irreparably, and significantly harmed
25             by the Project and related operations.
26    49.      Plaintiff Wildlands Defense (WLD) is a regional, membership, non-profit
27             organization dedicated to protecting and improving the ecological and aesthetic
28
               qualities of the wildlands and wildlife communities of the western United States for

               present and future generations. WLD advances its mission by means of landscape


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 1             and wildlife monitoring, by media outreach, and with legal and administrative
 2             advocacy. WLD is headquartered in Hailey, Idaho, has members in several western
 3             states, including members that regularly focus on public land and wildlife
 4
               preservation in the high desert ecosystem of the scenic and remote Nevada and
 5
               Oregon border land region. As an organization and on behalf of its members, WLD
 6
               has a particular interest in protection of biodiversity and conservation of rare species
 7
               like pygmy rabbit, golden eagle, greater sage-grouse and Lahontan cutthroat trout,
 8
               and in sustaining migratory birds. WLD members work and/or recreate throughout
 9
               this area generally, and in the Project Area particularly. Members derive scientific,
10
               recreational, inspirational, spiritual, aesthetic, educational, journalistic, expressive
11
               and other benefits from the public lands, wildlife, ecosystems, and the sweeping
12
               beautiful wild landscape of the Montana Mountains region, and intend to visit and
13
               engage in these pursuits frequently in the immediate future. These uses will be
14
15             immediately, irreparably, and significantly harmed by the Project and related

16             operations.

17    50.      In addition to the immediate and irreparable harm caused by the Project and BLM’s

18             approval of the Project, Plaintiffs, and their members, have been, and are being,

19             irreparably harmed by BLM’s failure to conduct a proper NEPA analysis and to fully

20             involve the public, and Plaintiffs, and their members, in the required NEPA and
21             FLPMA process.
22    51.      Defendant Bureau of Land Management (BLM) is an agency of the Defendant
23             United States Department of the Interior (DOI). The BLM/DOI has oversight
24             responsibility for the federal lands affected by the Project. BLM’s
25             Winnemucca District Office issued the 2020 FEIS and the 2021 ROD.
26    52.      Defendant Ester M. McCullough, the District Manager of the BLM
27             Winnemucca District Office, was the Authorized Officer for the challenged
28
               FEIS and ROD. She is sued in her official capacity.




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 1    Failure to Comply with the Binding Resource Management Plan Under FLPMA
 2    53.      The mine and exploration projects will not comply with the Winnemucca RMP and
 3             related Sage Grouse RMP Amendment requirements. BLM’s approval of this non-
 4
               conforming Project violates FLPMA and its implementing regulations.
 5
      54.      FLPMA requires that all activities approved by BLM comply with the requirements
 6
               of the binding Resource Management Plans (RMPs), also known as “land use plans”:
 7
               “The Secretary shall manage the public lands under principles of multiple use and
 8
               sustained yield, in accordance with the land use plans developed by him under section
 9
               1712 of this title when they are available.” 43 U.S.C. § 1732(a).
10
      55.      FLPMA requires that: “the public lands be managed in a manner that will protect the
11
               quality of scientific, scenic, historical, ecological, environmental, air and
12
               atmospheric, water resource, and archeological values.” 43 U.S.C. § 1701(a)(8).
13
      56.      A violation of the RMP is a violation of FLPMA. Or. Natural Res. Council Fund v.
14
               Brong, 492 F.3d 1120, 1128 (9th Cir. 2007) (BLM-approved project components “are
15
16             inconsistent with the Plan and, consequently, violate FLPMA.”).

17    57.      Complying with the RMP is required by both the general land use conformity

18             requirement of FLPMA, as well as BLM’s duty under FLPMA to “prevent

19             unnecessary or undue degradation” of the public lands. 43 U.S.C. § 1732(b).

20    58.      BLM’s FLPMA regulations require that all resource management decisions “shall

21             conform to the approved [land use] plan.” 43 C.F.R. § 1610.5-3(a).
22    59.      BLM “shall take appropriate measures . . . to make operations and activities under
23             existing permits, contracts, cooperative agreements or other instruments for
24             occupancy and use, conform to the approved [land use] plan . . . .” See id. § 1610.5-
25             3(b). 43 C.F.R. § 1601.0-5(b) defines “conformity” as requiring that “a resource
26             management action shall be specifically provided for in the plan, or if not specifically
27             mentioned, shall be clearly consistent with the terms, conditions, and decisions of the
28
               approved plan or plan amendment.” “Consistent,” in turn, is defined as requiring that




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 1              management actions “will adhere to the terms, conditions, and decisions of officially
 2              approved and adopted resource related plans . . . .” Id. § 1601.0-5(c).
 3    60.       There is no general exemption from the FLPMA RMP requirements for mineral
 4
                operations. As BLM has recognized, mining must comply with all RMP provisions.
 5
                Mineral Policy Center v. Norton, 292 F.Supp.2d 30, 49 (D.D.C. 2003) (“when BLM
 6
                receives a proposed plan of operations under the 2001 rules, pursuant to Section
 7
                3809.420(a)(3), it assures [sic] that the proposed mining use conforms to the terms,
 8
                conditions, and decisions of the applicable land use plan, in full compliance with
 9
                FLPMA’s land use planning and multiple use policies.”).
10
      61.       Despite these FLPMA requirements, BLM erroneously based the ROD and FEIS on
11
                its position that because LNC has filed mining claims across the entire site and is
12
                conducting mining-related operations, BLM is exempt from complying with the
13
                applicable RMP requirements.
14
15    Violation of RMP Requirements for the Protection of the Greater Sage-Grouse

16    62.       The GRSG is a species subject to binding protective standards in the BLM’s Record

17              of Decision and Resource Management Plan for the Winnemucca District, as well as

18              the Nevada and Northeastern California Greater Sage-Grouse Approved RMP

19              Amendment (September 2015) (and associated approvals and implementations).

20              (Collectively, the Winnemucca ROD/RMP and NV/NE CA ARMPA). It is a
21              sagebrush obligate, which means it relies upon large expanses of intact sagebrush
22              habitat to survive. But with these habitats becoming increasingly scarce due to the
23              conversion to industrial uses, fire, and other stressors, sage-grouse have declined to
24              10 percent of their former abundance and have been eradicated from at least 44
25              percent of their historic range.
26    63.       With the specter of listing the bird under the Endangered Species Act looming, the
27              BLM and U.S. Forest Service embarked on a west-wide planning strategy covering
28
                approximately 67 million acres of federal lands to impose adequate sage-grouse

                protections in their planning documents to conserve the species. BLM convened a


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 1                National Technical Team (NTT) to identify science-based sage-grouse conservation
 2                measures and the NTT’s December 2011 Report remains the best available science on
 3                sage-grouse conservation measures to this day.
 4
                  https://www.fws.gov/greatersagegrouse/documents/Reports/GrSG_NTT_Report.pdf
 5
      64.         The NTT Report recommended withdrawing sage-grouse priority habitats from
 6
                  mineral entry based on risk to sage-grouse and its habitat from conflicting locatable
 7
                  mineral potential and development. Id. at 24. It further recommended “[m]ake any
 8
                  existing claims within the withdrawal area subject to validity patent exams or buy
 9
                  out.” Id.
10
            65.   Meanwhile, the U.S. Fish and Wildlife Service convened a “conservation objectives
11
                  team,” (COT) which, in March 2013, issued a report that identified and mapped sage-
12
                  grouse “priority areas for conservation” (PACs), maintaining the integrity of which is
13
                  “the essential foundation for sage-grouse conservation.” The PACs were based
14
15                initially on State “key habitat maps” derived from breeding bird density maps and lek

16                counts, nesting areas, and habitat distribution data. The COT recommended avoiding

17                “new mining activities and/or any associated facilities within occupied habitats,

18                including seasonal habitats.” COT Report, 49.

19          66.   Through BLM’s planning process, BLM similarly identified “Priority Habitat

20                Management Areas” (PHMAs), “General Habitat Management Areas” (GHMAs),
21                and, applicable in Nevada and California, “Other Habitat Management Areas”
22                (OHMAs). PHMAs are “BLM-administered lands identified as having the highest
23                habitat value for maintaining sustainable GRSG populations” and BLM claims they
24                “largely coincide” with the U.S. Fish and Wildlife Service PACs, although in truth
25                large areas of habitats identified as PACs were omitted from PHMA and GHMA.
26                Great Basin (GB) ROD at 1-15 (U.S. Dept. of Interior, Record of Decision and
27                Approved Resource Management Plan Amendments for the Great Basin Region,
28
                  Including the Greater Sage-Grouse Sub-Regions of Idaho and Southwestern Montana

                  Nevada and Northeastern California Oregon Utah, September 2015).


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 1    67.      Meanwhile, GHMAs are “BLM-administered GRSG habitat that is occupied
 2             seasonally or year-round and is outside of PHMAs”; and OHMAs are “BLM-
 3             administered land in Nevada and Northeastern California, identified as unmapped
 4
               habitat…that is within the Planning Area and contains seasonal or connectivity
 5
               habitat areas.” GB ROD at 1-15.
 6
      68.      In 2015, BLM’s planning process culminated in the Approved Resource Management
 7
               Plan Amendments (ARMPAs) adopted through two Records of Decisions (RODs)
 8
               that grafted sage-grouse protections onto BLM RMPs throughout most of sage-grouse
 9
               range, including the Winnemucca RMP at issue here. The Nevada/Northeastern
10
               California ARMPA adopted through the Great Basin ROD set forth specific
11
               management direction regarding sage-grouse protections to be applied in PHMAs,
12
               GHMAs, and OHMAs.
13
      69.      Most or all of the Project area is PHMA. FEIS Figures 4.5-11 and -12 (“GRSG
14
15             Amendment Habitat Mapping”). The Project area lies within the Lone Willow

16             Population Management Unit (PMU) designated by the Nevada Department of

17             Wildlife (NDOW). FEIS at 4-43. Much of that PMU is categorized as “essential

18             irreplaceable habitat,” which the FEIS ignores.

19             https://www.fws.gov/nevada/nv_species/documents/sage_grouse/392012-

20             Maps/Printable_Greater_Sage-Grouse_Habitat_Categorization_Map.pdf
21             (emphasis added). Virtually the entire Lone Willow PMU, including all or nearly all
22             of the Project area, is within the Western Great Basin “priority area for conservation”
23             (PAC).
24    70.      Recognizing the importance of preserving expanses of interconnected sagebrush
25             habitats for sage-grouse, the sage-grouse Amendment to the Winnemucca RMP seeks
26             to “avoid, minimize, and mitigate” any effects to sage-grouse by avoiding new
27             disturbance or else minimizing or mitigating any disturbance. Objective SSS 4,
28
               NV/NE CA ARMPA at 2-6. It requires BLM to attempt to site projects outside of

               sage-grouse habitats, or else in the least suitable sage-grouse habitats or within or


                                                    19
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 1             adjacent to the footprint of other infrastructure. MD SSS-1 (NV/NE CA ARMPA at
 2             2-6).
 3    71.      To minimize impacts, the Winnemucca RMP and NV/NE CA ARMPA cap
 4
               disturbance in high-value sage-grouse Priority Habitat Management Areas (PHMAs),
 5
               such as that at the Project site, at 3 percent at both the PMU scale and the project
 6
               scale. See N-5 (discussing MD SSS 2A).
 7
                  Manage discrete anthropogenic disturbances, whether temporary or
 8
                  permanent, so they cover less than 3 percent of 1) biologically significant
 9                units (BSUs; total PHMA area associated with a GRSG population area (see
                  Appendix A, Figure 2.2) and 2) in a proposed Project analysis area. See
10                Appendix E, Disturbance Cap Guidance, for additional information on
                  implementing the disturbance cap, including what is and is not considered
11
                  disturbance and how to calculate the proposed Project analysis area, as follows: 1.
12                If the 3 percent human disturbance cap is exceeded on all lands (regardless
                  of ownership) in PHMAs in any given BSU, then no further discrete human
13                disturbances (subject to applicable laws and regulations, such as the 1872
                  Mining Law, as amended, and valid existing rights) will be permitted, by
14
                  BLM within GRSG PHMA in any given BSU until the disturbance has been
15                reduced to less than the cap (see Nevada exception under MD SSS 2 a. 3.
                  Appendix E).
16
               FEIS Appendix N at N-5 (emphasis added).
17
      72.      Where impacts cannot be avoided, the Winnemucca RMP and NV/NE CA ARMPA
18
               also require that BLM “ensure mitigation that provides a net conservation gain to the
19
               species,” such as the use of the State of Nevada Conservation Credit system. MD SSS
20
               2B (PHMA) (NV/NE CA ARMPA at 2-7, 2-8). Despite this requirement, BLM never
21
               analyzed or required this “net conservation gain” for sage grouse at Thacker Pass.
22
      73.      In addition, the RMP mandates the application of specified Required Design Features
23
24             (RDFs) to protect sage grouse. MD SSS 2B (NV/NE CA ARMPA at 2-8). BLM

25             must apply lek buffer distances identified in the USGS report, Conservation Buffer

26             Distance Estimates for Greater Sage-Grouse—A Review Open File-Report 2-14-1239

27             (Manier et al. 2014). MD SSS 2D (NV/NE CA ARMPA at 2-8). Seasonal restrictions

28             “will be applied” to manage surface-disturbing activities and uses to prevent




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 1             disturbances to GRSG during seasonal life-cycle periods. MD SSS 2E (NV/NE CA
 2             ARMPA at 2-8 to 2-9).
 3    74.      The ARMPA also includes strict noise limits and requires that authorizations and
 4
               permits must limit noise from activities to a maximum of 10 decibels above ambient
 5
               sound levels at least 0.25 miles from active and pending leks, from 2 hours before to
 6
               2 hours after sunrise and sunset during the breeding season. MD SSS 2F (NV/NE CA
 7
               ARMPA at 2-9).
 8
      75.      Further, where “triggers” are reached, as is the case in the Lone Willow PMU where
 9
               the Project lies, BLM must also take additional management or mitigation actions set
10
               forth in MD SSS 17 through 24.
11
      76.      The Project does not comply with these requirements.
12
      77.      There is no evidence that BLM required LNC to site Project facilities outside of
13
               PHMA and GHMA, locate the surface-disturbing activities in non-habitat or in the
14
15             lowest quality habitat, or locate Project facilities within or adjacent to existing

16             infrastructure, as it is required to do “whether in accordance with a valid existing

17             right or not.” See MD SSS-1. Therefore, BLM has not complied with the “avoid,

18             minimize, mitigate” objective set forth in the NV/NE CA ARMPA.

19    78.      BLM has admitted that disturbance in the Project area already surpasses the 3 percent

20             threshold beyond which no further disturbance may be authorized. The Project will
21             disturb 1.12 percent of PHMAs within the PMU and will raise disturbance in the
22             Project area from 4.4 percent to 12 percent. FEIS at N-5; N-17. In fact, the Project
23             would completely span the southeastern portion of the PMU, severing the
24             southernmost portion of the PMU from the rest of the PMU. See Figure 4.5-1.
25             Plaintiffs provided BLM with studies showing that isolating sage-grouse populations
26             by fragmenting habitat in this way leads to their extirpation and thus, the Project will
27             effectively shrink the habitat and sage-grouse population in the PMU. BLM
28
               essentially ignored these studies in the FEIS and ROD.




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 1    79.      BLM has never convened a technical team to determine whether the Project can be
 2             modified to a “net conservation gain” to the species, as is required to meet the criteria
 3             for an exception to the three percent disturbance cap. See NV/NE CA ARMPA at E-2.
 4
      80.      Nor has BLM required or ensured mitigation that provides a “net conservation gain”
 5
               to the species. Indeed, BLM has admitted that LNC has purchased no permanent
 6
               conservation credits to offset the effects of permanent groundwater drawdown from
 7
               the mine that will affect surface water used by sage-grouse in the Project area for the
 8
               foreseeable future. FEIS at 4-54. Under the ARMPA, BLM is not free to simply
 9
               disregard its obligation to ensure that impacts to GRSG are mitigated where they
10
               cannot be avoided.
11
      81.      BLM also failed to apply several Required Design Features (RDFs), including all of
12
               the locatable minerals-specific RDFs. See FEIS Table N.4.
13
      82.      BLM failed to apply lek buffer distances, seasonal restrictions, and noise limits
14
15             required by the ARMPA. This failure is likely to have significant impacts to sage-

16             grouse.

17    83.      For instance, the Nevada Department of Wildlife, in comments to BLM on the DEIS,

18             specifically stated that the Project would violate the noise limits in the ARMPA and

19             could have significant negative effects on the Montana-10 and Pole Creek 01 leks as

20             well as the Lone Willow PMU:
21                The calculations predict that project related noise at these leks will exceed
22                BLM ARMPA standards and result in potential impacts. Increased noise at
                  sage-grouse leks has been shown to have negative effects on lek attendance, with
23                likely implications to sage-grouse populations. Current research indicates that as
                  noise levels reach 10 dBA L50 above natural background levels (Pre-Project
24                L90), sage-grouse lek attendance declines and lek abandonment can occur. Thus,
25                the anticipated project related noise increases at Montana-10 and Pole Creek
                  01 could have significant negative effects on these leks and the Lone Willow
26                PMU. Based on average lek attendance, the Montana-10 lek is one of the three
                  largest leks in the Lone Willow PMU and the loss of this lek would likely be of
27                high consequence to greater sage-grouse populations.
28             FEIS at R-184 (comment #P830) (emphasis added). In response, BLM relied on a

               potential future “noise monitoring plan” to purportedly reduce these impacts. Id. But,



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 1             as NDOW noted, such future potential plans would not ensure that the ARMPA noise
 2             standards would be met.
 3
                  While we appreciate DEIS’s inclusion of noise reduction measures and restricting
 4                high noise activities to times less critical to wildlife, this does not change the
                  model’s predictions that important thresholds will be exceeded. We
 5                recommend that additional details for monitoring, mitigation, and adaptive
 6                management be determined in advance of the Final EIS to address the potential
                  noise impacts on these leks.
 7
               Id. (emphasis added). Despite these serious concerns, BLM claimed that any
 8
               monitoring plan or mitigation would be purely voluntary and that BLM did not have
 9
               to comply with the ARMPA standards:
10
                  Development of a noise monitoring plan may help in identifying activities that
11                produce high noise levels and recommend timing restrictions during critical
12                breeding periods (March-May); however, these measures would be voluntary
                  actions. The proposed project is a non-discretionary 43 CFR 3809 action and
13                BLM's discretion is limited to preventing unnecessary and undue
                  degradation, and may not impose timing or operational restrictions directed
14                under the 2015 GRSG ARMPA.
15             FEIS at R-184 to 185 (Response to NDOW comment #P831)(emphasis added).
16    84.      Similarly, some of the Project disturbance falls within the 3.1-mile lek buffer, which
17
               are to be applied as required conservation measures to address impacts to leks.
18
               NV/NE CA ARMPA at B-2. It is well-known that the effects of mining extend well
19
               beyond the surface footprint of the mine facilities themselves, disturbing sage grouse
20
               and displacing them from otherwise undisturbed habitats up to 3.1 miles away.
21
               Applying the 3.1 lek buffer distance helps to avoid some of these effects.
22
      85.      BLM dismissed its obligation to comply with these requirements, and indeed all of
23
               the other sage-grouse RMP Amendment requirements, based on the unsubstantiated
24
               assertion that they are “not applicable” because LNC’s unpatented mining claims at
25
               issue here confer “valid existing rights.” See, e.g., FEIS at 4-45, N-25, N-6, N-9, N-
26
               18, Table N.4.
27
28




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 1    86.      BLM’s position is that it must approve the Project because it “is a non-discretionary”
 2             action, based on the erroneous assumption that LNC has “valid existing rights” under
 3             the 1872 Mining Law to conduct all of its operations on public lands at the site.
 4
      87.      Yet, outside of the fact that LNC holds unpatented mining claims across the Project
 5
               site, BLM has offered no evidence that those claims are “valid” or that BLM has
 6
               determined whether the lands underlying these claims, especially the thousands of
 7
               acres to be buried by the waste/tailings dumps, satisfy the Mining Law’s strict test for
 8
               “valid existing rights.” If BLM had complied with the NTT Report’s
 9
               recommendation that locatable mineral claims be examined for validity, it could have
10
               determined whether these assertions are true, but it did not.
11
      88.      Even if BLM’s unsupported assumption that LNC holds “valid existing rights” were
12
               correct (which it is not), the agency is still under an obligation to impose mitigation
13
               measures to protect imperiled wildlife under its duty to “prevent unnecessary or
14
15             undue degradation” under FLPMA. And it must still comply with the ARMPA

16             direction to “avoid, minimize, mitigate” impacts to sage-grouse by siting projects

17             outside of sage-grouse habitat, or else in the least-suitable habitat, or within the

18             footprint of existing infrastructure.

19    89.      Moreover, BLM has the duty under FLPMA to mitigate adverse impacts:

20                Although other Federal and State agencies regulate various aspects of mining
21                under other statutes, BLM has its own responsibilities under FLPMA and the
                  mining laws to protect the resources and values of the public lands from
22                unnecessary or undue degradation.
                  …
23                [S]ections 302(b) and 303(a) of FLPMA, 43 U.S.C. 1732(b) and 1733(a), and the
24                mining laws, 30 U.S.C. 22, provide the BLM with the authority to require
                  mitigation. Mitigation measures fall squarely within the actions the Secretary
25                can direct to prevent unnecessary or undue degradation of the public lands.
                  An impact that can be mitigated, but is not, is clearly unnecessary.
26
               65 Fed.Reg. 69998, 70053 (November 21, 2000)(Preamble to BLM’s 43 C.F.R. Part
27
               3809 mining regulations)(emphasis added).
28




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 1    90.       But BLM decided not to comply with the requirements of the Winnemucca RMP as
 2              amended, or to ensure that effects to sage-grouse from the Plan were fully mitigated.
 3              Thus, the Project violates the Winnemucca RMP and NV/NE CA ARMPA, as well as
 4
                FLPMA.
 5
      Violation of RMP Visual Resource Protection Requirements
 6
      91.       Similarly, BLM also erroneously based the ROD and FEIS on its position that
 7
                because LNC has filed mining claims across the entire site, it is exempt from the
 8
                Winnemucca RMP’s Visual Resource protection standards.
 9
      92.       FLPMA requires the protection of scenic values, requiring that “the public lands be
10
                managed in a manner that will protect the quality of the...scenic...values....” 43 U.S.C.
11
                §1701(a)(8). “[N]atural scenic … values” are one of the resources for which public
12
                land should be managed. 43 U.S.C. §1702(c).
13
      93.       The Winnemucca RMP implements these mandates by requiring that projects
14
15              authorized by BLM must comply with the following: for “Visual Resources (VRM)

16              Goal: Manage public land actions and activities to provide protection of the visual

17              values and scenic quality of existing landscapes consistent with the Visual Resource

18              Management (VRM) class objectives.” RMP at 2-44.

19              https://eplanning.blm.gov/public_Projects/lup/47537/58077/62876/06_Chapter_2_R

20              MP.pdf
21    94.       According to the Winnemucca RMP’s Final Environmental Impact Statement, at ES-
22              22, BLM is required to protect the area’s designated scenic resources:
23
                   Visual Resources. In general, all alternatives would involve actions that maintain
24                 or improve the quality of visual resources. In addition to relying on the visual
                   resource contrast rating system to preserve the overall scenic quality of BLM-
25                 administered land, specific actions also maintain or improve visual resources
26                 involving air, water, flora, fauna, wildland fire, cultural resources, minerals, and
                   recreation.
27
                https://eplanning.blm.gov/public_Projects/lup/47537/58354/63145/Winnemucca_Pro
28
                posed_RMP_FEIS_Volume_1.pdf




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 1    95.      The FEIS described BLM’s Visual Resource Management and Protection processes.
 2                The BLM created Manual 8400 – Visual Resource Management as guidance to
 3                develop a comprehensive inventory and related management objectives for public
                  lands. The objective of Visual Resource Management (VRM) is to manage
 4                public lands in a manner which would protect the quality of the scenic (visual)
                  values of these lands. A VRM analysis systematically identifies and evaluates
 5                visual resources to determine the appropriate level of impacts and management.
 6                Visual values are identified through the VRM Inventory, Manual Section 8410, and
                  are considered with other resource values in the Resource Management Planning
 7                (RMP) process.
 8             FEIS at 4-98 (emphasis added).
 9    96.      Most of the Thacker Pass area is designated VRM Class II. According to the FEIS
10             for the Thacker Pass Mine:
11
                  The objective of VRM Class II is to retain the existing character of the landscape,
12                while keeping the level of change to the characteristic landscape low.
                  Management activities may be seen but should not attract attention of the casual
13                observer. The objective is that changes in the landscape repeat the basic elements
14                of form, line, color, and texture found in the predominant natural features.
               FEIS at 4-99.
15
16    97.      “BLM’s Winnemucca District Office concluded that the Thacker Pass Project

17             boundary falls primarily within VRM Class II per the 2015 Record of Decision and

18             Resource Management Plan for the Winnemucca District Planning Area, with an

19             exception to the east end of the Project area which fall within VRM Class III (BLM

20             2015a).” FEIS at 4-98 to 99.

21    98.      BLM admits that the Project will violate these VRM requirements in the Winnemucca
22             RMP:
23                Overall, the construction and operation of the Proposed Alternative would
24                not meet the current VRM Class II objectives, and would not conform with
                  the existing ROD/RMP (see Section 1.5.3). The existing character of the
25                landscape would not be retained, and the level of change to the characteristic
                  landscape would be noticeable and likely attract the attention of the casual
26                observer. Overall, the construction and operation of Alternative A would not meet
27                the current VRM Class II objectives, and would not conform with the existing
                  ROD/RMP (see Section 1.5.3).
28
               FEIS at 4-101.




                                                  26
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 1    99.      As detailed herein, under FLPMA, BLM cannot approve actions that will violate its
 2             own RMP.
 3    100.     In response to Plaintiffs’ extensive comments highlighting how the Project would
 4
               violate the VRM requirements of the RMP, BLM simply stated: “Thank you for
 5
               your comment,” with no analysis or response. See Comments P645-656, FEIS at
 6
               Appendix R at 143-146 (emphasis added). This is a bald dismissal, not a response.
 7
      101.     This violates the agency’s duties under NEPA to fully respond to all substantive
 8
               comments. Under the controlling NEPA regulations, BLM “shall assess and
 9
               consider” and “shall respond” to comments. 40 C.F.R.§ 1503.4(a). “Consider” means
10
               “to investigate and analyze; ‘consideration’ encompasses an affirmative duty to
11
               investigate and compile data, and a further duty to incorporate that data into a detailed
12
               reasoned analysis.” City of Davis v. Coleman, 521 F.2d 661, 679 (9th Cir. 1975).
13
               The APA requires agencies to adequately respond to all significant public comments
14
15             as a “fundamental tenet of administrative law.” NRDC v. EPA, 859 F.2d 156, 188

16             (D.C. Cir. 1988).

17    102.     BLM understood that, because the Project would violate the RMP’s VRM standards,

18             in order to legally approve the Project, it would have to amend the RMP to remove

19             these requirements.

20    103.     BLM’s January 21, 2020 Notice of Intent (NOI) to prepare the EIS was released in
21             the Federal Register. BLM acknowledged that if the Project would violate the RMP
22             VRM standards, the RMP would have to be amended to change those requirements.
23
                  A Land Use Plan Amendment addressing visual resources would be included with
24                the Project and analyzed in the EIS if visual resource issues cannot be mitigated
                  during the exploration, construction, and operation of the Project to conform with
25                the visual resource management class-2 designation in the current RMP, approved
26                in 2015.
               85 Fed. Reg. 3413, 3414 (Jan. 21, 2020).
27
28    104.     Yet BLM never amended the RMP, despite admitting that the Project would violate

               the RMP standards.



                                                    27
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 1    105.      BLM regulations allow for amendments to RMP’s but require at least a 90-day public
 2              comment period: “Ninety days shall be provided for review of the draft plan
 3              and draft environmental impact statement.” 43 C.F.R. §1610.2(e).
 4
      106.      In this case, BLM issued the Draft EIS on July 29, 2020 and provided for only a 45-
 5
                day comment period. 85 Fed. Reg. 45651 (July 29, 2020). The DEIS contained no
 6
                mention of BLM’s previously-stated need to amend the RMP, despite acknowledging
 7
                that the Project would violate the VRM standards.
 8
      107.      Neither the ROD nor the FEIS explains why the RMP was never amended, as BLM
 9
                stated it was required to do in its Federal Register Notice, or how BLM can approve a
10
                Project that violates the Visual Protection Standards in the RMP.
11
12    BLM Cannot Violate the RMPs Based on an Unsupported Belief that LNC Had “Valid Existing
      Rights” under Federal Mining Laws
13
      108.      As noted, BLM erroneously based its failure to comply with the RMP on the
14
                mistaken view that LNC’s mere filing of mining claims at the site precludes the agency
15
                from ensuring compliance with the RMP because LNC has “valid existing rights” under
16
                the 1872 Mining Law. See, e.g., FEIS at 4-45, N-25, N-6, N-9, N-18, Table N.4.
17
      109.      Yet “valid existing rights” under the Mining Law can only accrue to the company if these
18
                claims satisfy the requirements of the 1872 Mining Law for occupancy and possession
19
                rights. “A mining claimant has the right to possession of a claim only if he has made
20
                a mineral discovery on the claim.” Lara v. Secretary of the Interior, 820 F.2d 1535,
21
                1537 (9th Cir. 1987). See also Davis v. Nelson, 329 F.2d at 845 (9th Cir. 1964)(“right
22
                to occupation and purchase of the lands” is limited to only those lands “in which
23
24              valuable mineral deposits are found.”).

25    110.      The ROD authorizes LNC to permanently occupy the public lands with the placement

26              of the waste rock, stockpiles, and tailings waste on the company’s mining claims.

27              The Mining Law limits the permanent use and development of mining claims on

28              public lands to only those lands that contain a “valuable mineral deposit.” “All

                valuable mineral deposits in lands belonging to the United States … shall be free



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 1             and open to exploration and purchase, and the lands in which they are found to
 2             occupation and purchase.” 30 U.S.C. § 22 (emphasis added).
 3    111.     Only upon the discovery of a “valuable mineral deposit,” within the boundaries of
 4
               each mining claim does the claimant have rights to permanently use and occupy those
 5
               public lands. “Thus, although a claimant may explore for mineral deposits before
 6
               perfecting a mining claim, without a discovery, the claimant has no right to the
 7
               property against the United States or an intervenor. 30 U.S.C. § 23 (mining claim
 8
               perfected when there is a ‘discovery of the vein or lode’); see also Cole v. Ralph, 252
 9
               U.S. 286, 295–96 (1920).” Freeman v. Dept. of Interior, 37 F.Supp.3d 313, 319
10
               (D.D.C. 2014). “If there is no valuable mineral deposit beneath the purported
11
               unpatented mining claims, the unpatented mining claims are completely invalid under
12
               the 1872 Mining Law, and no property rights attach to those invalid unpatented
13
               mining claims.” Center for Biological Diversity v. U.S. Fish and Wildlife Service,
14
15             409 F.Supp.3d 738, 748 (D. Ariz. 2019)(emphasis in original).

16    112.     To satisfy the discovery requirement necessary for possessory and occupation, “the

17             discovered deposits must be of such a character that a person of ordinary prudence

18             would be justified in the further expenditure of his labor and means, with a reasonable

19             prospect of success, in developing a valuable mine.” U.S. v. Coleman, 390 U.S. 599,

20             602 (1968). This economic test for claim validity necessarily includes the
21             consideration of all costs necessary to develop, process, transport, and market the
22             mineral, including costs to protect public land and the environment. “[I]t must be
23             shown that the mineral can be extracted, removed and marketed at a profit.” Id.
24    113.     There is no evidence in the record that the mining claims covering the thousands of acres
25             of public lands approved for the tailings, stockpiles, waste rock dumps, and other non-
26             extractive operations are valid under the Mining Law.
27    114.     The Project site is covered by over 300 mining claims, each slightly over 20 acres. See
28
               Appendix A to LNC Plan of Operations for the Thacker Pass Mine.




                                                    29
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 1    115.     BLM has not inquired into, or determined, whether the mining claims at the Project site
 2             are valid.
 3    116.     BLM has not inquired into, or determined, whether the lands to be used outside of the
 4
               mine pit for the waste and tailings dumps and other non-extractive operations contain
 5
               valuable mineral deposits under the Mining Law.
 6
      117.     In addition to the lack of any evidence that the claims to be used for waste rock
 7
               dumps, tailings waste facilities, and other non-extraction operations away from the
 8
               mine pit are valid under the Mining Law, the evidence in the record shows that the
 9
               lands covered by these claims do not contain the requisite valuable deposit of a
10
               locatable mineral (i.e., those minerals subject to claiming under the 1872 Mining
11
               Law).
12
      118.     Under the Surface Resources and Multiple Use Act of 1955, “common varieties” of
13
               minerals, such as rock, gravel, and stone, are not locatable (i.e., cannot be legitimately
14
15             claimed) under the Mining Law. 30 U.S.C. § 611. Lands consisting of “common

16             varieties” cannot, then, have any “valid existing rights” under federal mining laws.

17    119.     BLM has not determined whether the lands to be used for the waste rock dumps, the

18             tailings waste facility, stockpiles, and other non-extractive operations contain locatable

19             minerals or common variety minerals.

20    120.     Based on the geologic information in the FEIS, the lands to be covered by the large
21             ancillary waste and processing facilities away from the lands covering the proposed
22             mine pit do not contain the requisite valuable and locatable mineral deposits. At
23             minimum, there is no support in the FEIS for BLM’s position that LNC has satisfied
24             the Mining Law’s requirements for “valid existing rights” to use and possess public
25             lands for permanent disposal of mine waste, stockpiles, and tailings – in violation of
26             the VRM and wildlife protection requirements of the applicable RMPs.
27    Failure to Ensure Compliance With Environmental Protection Laws and Policies.
28
      121.     In approving projects like the mine, BLM also must comply with environmental

               protection laws and policies, including NEPA and FLPMA.


                                                     30
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 1    122.       NEPA is our “basic national charter for protection of the environment.” 40 C.F.R. §
 2               1500.1(a). 1
 3    123.       Congress enacted NEPA to ensure that federal agencies, before approving a Project,
 4
                 (1) consider and evaluate all environmental impacts of their decisions and (2) disclose
 5
                 and provide an opportunity for the public to comment on such environmental impacts.
 6
                 40 C.F.R. §§ 1501.2, 1502.5. “NEPA procedures must ensure that environmental
 7
                 information is available to public officials and citizens before decisions are made and
 8
                 before actions are taken.” 40 C.F.R. § 1500.1(b). This review must be supported by
 9
                 detailed data and analysis – unsupported conclusions violate NEPA. See Idaho
10
                 Sporting Congress v. Thomas, 137 F.3d 1146, 1150 (9th Cir. 1998); N. Plains v.
11
                 Surface Transp. Bd., 668 F.3d 1067, 1075 (9th Cir. 2011)(conclusions must be
12
                 supported by reliable studies).
13
      124.       To this end, NEPA requires federal agencies to prepare a detailed Environmental
14
15               Impact Statement (EIS) for all “major Federal actions significantly affecting the

16               quality of the human environment.” 42 U.S.C. § 4332(2)(C).

17    125.       An EIS must include a full and adequate analysis of environmental impacts of a

18               Project and alternatives and take a “hard look” at the direct, indirect, and cumulative

19               impacts of the Project and its alternatives, resulting from all past, present, and

20               reasonably foreseeable future actions. 40 C.F.R. §§ 1508.7, 1508.8, 1508.9,
21               1508.25(c).
22    126.       NEPA requires that the FEIS fully review and determine how the Project will comply
23               with all relevant federal and state environmental and public land laws. See 40 C.F.R.
24
25
26    1
       The national NEPA regulations were recently revised, which became effective on September
27    14, 2020. 85 Fed. Reg. 43304-43376 (July 16, 2020). However, because BLM conducted its
      NEPA review for this Project before the new regulations became effective, the NEPA regulations
28    existing prior to September 14, 2020, at 40 C.F.R. Part 1500, apply here. See, e.g., FEIS at 5-1,
      quoting 40 C.F.R. §1508.7 for the requirement to analyze, and definition of, “cumulative
      effects,” from the previous NEPA regulations.


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 1             § 1502.2(d) (requiring an EIS to state how alternatives and decisions “will or will not
 2             achieve the requirements of . . . other environmental laws and policies.”)
 3    127.     FLPMA requires that: “In managing the public lands the Secretary [of Interior] shall,
 4
               by regulation or otherwise, take any action necessary to prevent unnecessary or
 5
               undue degradation of the lands.” 43 U.S.C. § 1732(b).
 6
      128.     Failure to conduct a proper NEPA analysis violates not only NEPA, but FLPMA’s
 7
               mandate to prevent “unnecessary or undue degradation, or UUD”, which is a
 8
               fundamental requirement of BLM’s review of proposed mining plans under FLPMA.
 9
               As the Interior Department has held:
10
11                Like NEPA, the [UUD] definition requires BLM to consider the
                  nature and extent of surface disturbances resulting from a proposed
12                operation and environmental impacts on resources and lands outside
                  the area of operations. Kendall's Concerned Area Residents, 129 IBLA
13                130, 140-41 (1994); Nez Perce Tribal Executive Committee, 120 IBLA
14                34, 36 (1991); see Sierra Club v. Hodel, 848 F.2d 1068, 1078, 1091 (10th
                  Cir.1988) (nondegradation duty is mandatory). … [M]ost disturbed land at
15                the mine sites is public land and other public land is adjacent to them. To
                  the extent BLM failed to meet its obligations under NEPA, it also
16                failed to protect public lands from unnecessary or undue degradation.
17             Island Mountain Protectors, 144 IBLA 168, 202, 1998 WL 344223, * 28
18             (Interior Board of Land Appeals, IBLA)(internal citations omitted, emphasis
19             added).
20
      129.     To prevent unnecessary and undue degradation, BLM must ensure that all
21
               environmental protection standards will be met at all times. 43 C.F.R. § 3809.5
22
               (definition of “Unnecessary of Undue Degradation” prohibited under FLPMA
23
               includes “fail[ure] to comply with one or more of the following: … Federal and state
24
               laws related to environmental protection.”)
25
      130.     As part of its duties to prevent UUD and irreparable harm to public land resources
26
               under FLPMA, BLM has established a national policy to protect designated Sensitive
27
               Species.
28
                  The objectives of the BLM special status species policy are:



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 1                A. To conserve and/or recover ESA-listed species and the ecosystems on
 2                which they depend so that ESA protections are no longer needed for these
                  species.
 3                B. To initiate proactive conservation measures that reduce or eliminate
                  threats to Bureau sensitive species to minimize the likelihood of and need
 4                for listing of these species under the ESA.
 5
               U.S. Dep’t of the Interior BLM, Special Status Species Mgmt. Manual 6840 at 3 (2008)
 6
               (“Special Status Species Manual”).
 7
      131.     BLM policy acknowledges its duty under FLPMA to protect Sensitive Species:
 8
 9                It is in the interest of the BLM to undertake conservation actions for such
                  species before listing is warranted. It is also in the interest of the public for
10                the BLM to undertake conservation actions to improve status of Sensitive
                  Species so sensitive recognition is no longer warranted. By doing so, BLM
11                will have greater flexibility in managing public lands to accomplish native
12                species conservation objectives and other legal mandates.
                  …
13                In compliance with existing laws, including the BLM multiple use mission
                  as specified in the FLPMA, the BLM shall designate Bureau sensitive
14                species and implement measures to conserve these species and their
15                habitats, including ESA proposed critical habitat, to promote their
                  conservation and reduce the likelihood and need for such species to be listed
16                pursuant to the ESA.
17             BLM Special Status Species Manual at 36.

18             https://www.ntc.blm.gov/krc/uploads/1110/BLM%20MS%206840%20Special%20St

19             atus%20Species%20Management%20Dec%202008.pdf
20    132.     BLM failed these duties, as it never determined whether the Project and its
21             alternatives would fully “achieve … all relevant environmental laws and policies.”
22             40 C.F.R. § 1502.2(d). At a minimum, the FEIS never analyzes: (1) whether, and
23             how, the Project will fully comply with all applicable RMP provisions; (2) whether,
24             and how, all water and air quality standards will be met at all times; and (3) whether,
25             and how, BLM will comply with substantive State and Federal laws and its own
26
               policies that mandate protection of wildlife and plants.
27
28




                                                    33
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 1    Failure to Ensure Compliance With Water Quality Standards
 2    133.      As noted, to comply with FLPMA’s mandate to prevent UUD, approved projects
 3              must comply with water quality standards. See 43 C.F.R. § 3809.420(b)(4) (listing
 4
                Performance Standards that must be met, including the requirement that “All
 5
                operators shall comply with applicable Federal and state water quality standards,
 6
                including the Federal Water Pollution Control Act [Clean Water Act], as amended
 7
                (30 U.S.C. 1151 et seq.).”
 8
      134.      The Winnemucca RMP also requires compliance with all water quality standards:
 9
10                 GOAL: Manage for healthy watersheds across the landscape. Protect and
                   maintain watersheds so they appropriately capture, retain, and release
11                 water of quality that meets State and national standards. Ensure public
                   lands are capable of providing long-term sustainable water for local
12                 community needs and for land management activities, while minimizing
13                 impacts on the local ecosystem hydrologic functions and processes.

14                 Objective WR 1: Manage BLM and BLM-authorized activities and uses to
                   prevent degradation of water quality beyond established standards, as specified in
15                 the Nevada Water Pollution Control Regulations (NRS Ch. 445A) and the
16                 Memorandum of Understanding (MOU) of September 2004 between BLM and
                   the State of Nevada, Division of Environmental Protection. This memorandum
17                 concerns diffuse source water pollution and the Nevada State 208 Water Quality
                   Plan.
18
                RMP at 2-7 (emphasis in original).
19
      135.      BLM failed to meet these requirements because antimony, a harmful pollutant in the
20
                mine pit backfill, will be released into the groundwater that will exceed water quality
21
                standards.
22
      136.      BLM admitted that: “Geochemical modeling results indicate that pore water in [the
23
24              mine] backfill will exceed MCLs [Maximum Contaminant Levels] for longer than 20

25              pore volumes (Water Quantity and Water Quality Impacts report, Appendix P of this

26              EIS).” FEIS at R-121.

27    137.      Because saturated groundwater that would flow from the pit backfill would exceed

28              standards, BLM was prohibited from approving the Project, as under FLPMA and




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 1             BLM’s mining regulations (43 C.F.R. Part 3809), BLM cannot approve an operation
 2             that is predicted to violate water quality standards.
 3    138.     The backfilled pits are expected to have through-flowing groundwater when they fill,
 4
               and would thus be long-term sources of pollutants to down-gradient groundwater.
 5
               As GBRW stated in its comments on the Draft EIS (Comment P570): “The
 6
               groundwater model used to support the DEIS does recognize the backfilled pits as
 7
               long-term pollution sources, and include an estimate for the extent of the antimony
 8
               plume that will exceed the 0.006 mg/L MCL out to 300 years beyond closure.” See
 9
               also FEIS Figure 6.10. “Antimony 0.006 mg/L isopleth through time (proposed
10
               action),” Piteau Associates 2020, FEIS Thacker Pass Lithium Mine Project
11
               Appendix P Part 4).
12
      139.     To purportedly prevent these violations, the FEIS relies on as-yet-undefined future
13
               plans not subject to public NEPA and FLPMA review. See BLM Response to P572:
14
15             “Potential impacts to groundwater water quality downgradient from the backfilled pit

16             would be addressed as outlined in Mitigation WR-3 provided in Section 4.3.2 of

17             EIS.”

18    140.     The “Mitigation WR-3” cited in the BLM response is “Groundwater Quality

19             Monitoring and Groundwater Quality Management Plans,” which states that “in the

20             event that constituent concentrations exceed established regulatory thresholds at one
21             or more established compliance monitoring points, and the exceedance is attributable
22             to contamination originating from mine facilities or operations, LNC would provide
23             the BLM and NDEP with a groundwater quality management plan for review and
24             approval” (FEIS pg. 4-26, Section 4.3.2 “Recommended Mitigation and
25             Monitoring”).
26    141.     Plaintiffs had specifically requested BLM to provide these plans during the NEPA
27             process, but BLM refused. See GBRW Comment P572: “Present a model for an
28
               alternative closure option for the backfilled pits that prevents the release of pollutants

               in a groundwater plume, such as a period of active pumping and treating of pore


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 1             water until the discharge from the waste-rock backfill is below the groundwater
 2             MCLs.”
 3    142.     Since the FEIS predicts the exceedances of acceptable water quality levels, this
 4
               reliance on future, as-yet-unreviewed plans violates NEPA and FLPMA.
 5
      143.     The U.S. Environmental Protection Agency (EPA) strongly criticized BLM’s failure
 6
               to adequate analyze impacts to water quality, and ensure against any potential
 7
               exceedance of water quality standards:
 8
                  Unmanaged Groundwater Quality Degradation
 9                As explained in the Final EIS, adverse effects to groundwater quality are
10                expected from all action alternatives. Without mitigation, a plume of
                  groundwater exceeding the Nevada Division of Environmental Protection
11                Profile I Reference Values for antimony is expected to flow uncontrolled
                  from the backfilled pit. According to fate and transport modeling included in
12                the EIS (Appendix P Part 1 p. 125-133), the preferred alternative (Alternative A)
13                would result in a plume extending approximately one-mile (p. 4-26) downgradient
                  of the pit 300-years post-closure at levels still above Profile I (Appendix P Part 1
14                p. 132-133).
15             “EPA’S DETAILED COMMENTS ON THE FINAL ENVIRONMENTAL

16             IMPACT STATEMENT FOR THE THACKER PASS PROJECT, HUMBOLDT
17             COUNTY, NEVADA, JANUARY 4, 2020,” at 1, contained in EPA’s January 4,
18             2021 letter to BLM (EPA’s Detailed Comments on FEIS)(emphasis added).
19    144.     EPA further noted that the FEIS failed to adequately review mitigation required to
20             prevent this contamination:
21
                  While the Final EIS includes three conceptual options that have the potential to
22                mitigate antimony groundwater contamination (Appendix P Part 1 p. 154-159),
                  the plans are not developed with an adequate level of detail to assess whether
23                or how groundwater quality downgradient from the pit would be effectively
24                mitigated. In our comments on the Draft EIS, the EPA recommended more
                  detailed information about how effective these potential mitigation options could
25                be, and an evaluation of additional disturbance and impacts from implementing
                  the proposed mitigation options (40 CFR 1508.25(a)(1)(iii)).
26
               Id. (emphasis added).
27
      145.     EPA highlighted how BLM failed to respond to these serious concerns:
28




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 1                In response, the BLM stated that options for blending/discharge and active
 2                treatment “have not been evaluated, and therefore may not be feasible for
                  consideration as mitigation for the Final EIS” (Appendix R p. R-180). Therefore,
 3                conclusions in the Final EIS that groundwater quality management plans
                  would “effectively mitigate impacts to groundwater quality downgradient
 4                from the pit” (p. 4-25) are not adequately supported.
 5             Id. (emphasis added).
 6    146.     EPA criticized BLM for failing to meet its environmental protection responsibilities
 7
               at the Mine: “Without detailed information about mitigation and its efficacy, it is
 8
               unclear how a Record of Decision could state that all practicable means to avoid
 9
               or minimize environmental harm from the alternative selected have been
10
               adopted.” Id. (emphasis added).
11
      147.     EPA also noted that LNC recently submitted a new mitigation plan that purportedly
12
               reduces the ground water pollution – but that this plan was submitted long after the
13
               NEPA public review process ended:
14
15                On December 16, 2020, the EPA received a revised version of the Plan of
                  Operation’s Appendix H, “Thacker Pass Project Monitoring Plan,” during the first
16                Water Resources Technical Advisory Group meeting. This revised monitoring
                  plan includes a new potential future mitigation option for groundwater
17                quality impacts that was not discussed in the Draft or Final EIS. This option
18                involves preferentially placing oxide gangue in saturated portions of backfill to
                  reduce the solute load of antimony as compared with the action alternatives in the
19                current EIS. This is not currently a condition of approval or commitment in the
                  Draft ROD, even though the option “may reduce or attenuate antimony mass prior
20                to discharge from the backfill” (Appendix P Part 1 p. 154), which could
21                substantially decrease the modeled 300-year impacts.

22             Id. (emphasis added).

23    148.     In addition, both the waste rock dump and the tailing facility are potential sources of

24             long-term pollution. As noted above, “aluminum, arsenic, antimony, beryllium,

25             cadmium, chromium, copper, fluoride, iron, lead, magnesium, mercury, nickel,

26             sulfate, thallium, TDS, and zinc were leached under low pH conditions at
27             concentrations above Profile I NRVs [Nevada Reference Values].” FEIS Appendix B,
28             LNC Mine Plan at 41. Further, “testing indicate[s] that for the clay tailings sample,

               uranium, gross alpha and radium 226/radium 228 exceed the Profile IR NRVs.” Id.



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 1    149.     Thus, seepage from the tailings facility will violate Nevada water quality standards
 2             and must be captured and treated. LNC recognizes the potential to contaminate
 3             groundwater and is proposing to have a water impervious liner for the tailings facility
 4
               to capture the seepage. FEIS Appendix B at 41 (LNC mining plan). Yet the lifetime
 5
               and details regarding this liner are not mentioned in the FEIS, so the public was not
 6
               able to evaluate how long, and if, it will purportedly prevent groundwater
 7
               contamination.
 8
      150.     For example, the FEIS does not provide any estimate of the volume and rate of
 9
               drainage initially and over time. According to the FEIS, LNC will direct tailings
10
               drainage to the processing facility to be used in the extraction of lithium and other
11
               minerals during active mining. After mining is completed seepage is to be directed to
12
               a lined collection pond with the assumption that evaporation will be sufficient to
13
               prevent overflow from the pond and to eventually reduce the volume of toxic solution
14
15             so that the ponds can be converted to evapotranspiration cells. FEIS at 4-15.

16    151.     Yet there is no detailed information or analysis on the time frame and volume of

17             drainage, so the public has no way to evaluate this mitigation plan. There is no

18             analysis of the potential for toxic drainage to occur after the lifetime of the liner.

19             LNC states that the tailings facility is designed to be a “zero discharge” facility, but

20             the FEIS does not analyze how the design will ensure a “zero discharge” outcome
21             indefinitely.
22    152.     For example “evaporation cells” are intended to be the final reclamation for tailings
23             drainage, but the level of toxicity is so high in the drainage that the cells are likely to
24             remain a threat to people and wildlife indefinitely. FEIS at 4-15. But there are no
25             details as to how these cells can be reclaimed to avoid this long-term threat.
26    153.     Further, as explained below, BLM has yet to account for the costs for the
27             construction, operation, and maintenance of this treatment, which should have been
28
               included in the reclamation/closure financial guarantee/bond in the ROD, as required

               by FLPMA and the 43 C.F.R. Part 3809 regulations.


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 1    Failure to Ensure Compliance With Air Quality Standards
 2    154.      The FEIS and ROD do not ensure compliance with all applicable air quality
 3              standards, as required by FLPMA. Nor did BLM fully review all air quality issues as
 4
                required by NEPA.
 5
      155.      As noted, failure to comply with air quality standards violates FLPMA because it
 6
                constitutes UUD. See, e.g., 43 C.F.R. § 3809.5 (definition of “Unnecessary of Undue
 7
                Degradation” prohibited under FLPMA includes “fail[ure] to comply with one or
 8
                more of the following: … Federal and state laws related to environmental
 9
                protection.”); id. § 3809.420(b)(4) (listing Performance Standards that must be met,
10
                including the requirement that “All operators shall comply with applicable Federal
11
                and state air quality standards, including the Clean Air Act (42 U.S.C. 1857 et seq.).”
12
      156.      It also violates the Winnemucca RMP, which requires compliance with all air quality
13
                standards:
14
15                  AIR QUALITY (AQ)
                    GOAL: Meet all applicable local, state, tribal and national ambient air
16                  quality standards and regulations under the Clean Air Act (as amended).
17                  Objective AQ 1: Manage BLM actions and land use authorizations to prevent
                    significant deterioration of Federal Class 1 areas and from exceeding air quality
18                  standards specified by the State of Nevada, Division of Environmental Protection
                    or other applicable federal, state, or local air quality standards.
19
                RMP at 2-6 (emphasis in original).
20
      157.      In their comments on the DEIS, Plaintiffs specifically raised the serious air quality
21
                concerns to BLM, describing how the sulfur dioxide emissions analysis is inadequate.
22
                For example, in Table 4.10, the DEIS, and then the FEIS, claimed that in Phase I the
23
                facility would emit only 75.8 tons per year (TPY) of sulfur dioxide (SO2) for the
24
                337,895 tons of sulfur anticipated to be burned to produce the sulfuric acid..
25
26    158.      But, as Plaintiffs pointed out, no currently-existing technology is capable of achieving

27              this reduction in emissions as asserted by BLM and LNC. According to the national

28              “Acid Plant Database,” Rio Tinto’s Kennecott Copper smelter in Utah is “the cleanest

                in the world” and “captures 99.9% of the sulfur dioxide emissions produced.” The



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 1             same document from the “Acid Plant Database” listed the emissions concentration at
 2             <100 ppm in SO2. DKL Engineering, Inc., “Sulphuric Acid on the Web”,
 3             http://www.sulphuric- acid.com/sulphuric-acid-on-the-web/home.htm, an online
 4
               sulfuric acid database, last updated June 29, 2020. Kennecott Data Sheet from
 5
               January 27, 2018 (viewed December 27, 2020).
 6
      159.     LNC is thus proposing an acid plant that will purportedly be on the order of 5 to 10
 7
               times cleaner in SO2 than the current state-of-the-art industry standard and the
 8
               “cleanest in the world.”
 9
      160.     Nevertheless, the FEIS assumes these massive emissions reductions will be achieved
10
               based upon application of “state-of-the-art” technology—without identifying what
11
               that technology is:
12
13                In order to minimize the emissions from the sulfuric acid plant, LNC has
                  committed to installing a state-of-the-art scrubbing control, which is above
14                customary industry standard. As a result, the sulfur dioxide and acid mist
15                emissions from the sulfuric acid plant will be well below the emission standards
                  (4 pounds SO2 per ton of acid produced and 0.15 pounds H2SO4 per ton of acid
16                produced) in the Code of Federal Regulations, Title 40, Part 60 (40 CFR 60),
                  Subpart H, Standards of Performance for Sulfuric Acid Plants. While the exact
17                scrubbing system has not yet been determined, LNC has committed to
18                installing a control that, at the minimum, meets the emission levels used in this
                  analysis.
19
               FEIS, App. K at 6-7 (emphasis added). Since the FEIS does not disclose what this
20
21             technology will be, and indeed it “has not yet been determined,” neither the public

22             nor the agency can fairly assess the likely effectiveness on this technology as a
23             mitigation for sulfur dioxide emissions, in violation of NEPA and FLPMA. Neither
24
               BLM nor the public has any assurance that the technology actually exists.
25
      161.     BLM failed to explain how the effectiveness of these measures can be determined
26
27             from so little information. Under NEPA and FLPMA, BLM must fully analyze,

28             detail, and confirm the effectiveness of such purported mitigation measures.




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 1    162.      Plaintiffs requested that BLM provide the required specifics to be able to analyze
 2
                whether the acid plant emissions are likely to meet the goals listed in the FEIS. But
 3
                BLM refused to provide this required evidence, and the FEIS adds no specific data or
 4
 5              analysis on the scrubbing technology, such as its application in another operational

 6              acid plant or reasonably scalable laboratory test data.
 7    163.      Further, even if the purported “state-of-the-art technology” were capable of achieving
 8
                the emissions reductions projections in Phase 1, BLM nevertheless assumes that SO2
 9
                emissions will essentially remain the same in Phase 2, despite the fact that production
10
11              would be doubled.

12    164.      LNC claims, and BLM assumes, that the projected process emissions from the acid
13
                plant for critical air pollutants are largely identical for both Phase 1 and Phase 2.
14
                “[T]he total process emissions show only a small increase between Phases 1 and 2.”
15
                FEIS Appendix K, at 8. See Tables 3 and 4 in Appendix K, showing that the SO2
16
17              emissions for Phase 1 at 76.2 tons/year vs. 76.8 tons/year for Phase 2.

18    165.      There is no evidence to support these bold assumptions, particularly since the “state-
19
                of-the-art” technology to be applied is “undetermined.” BLM’s assumption that
20
                emissions will stay the same at doubled production, without the required evidentiary
21
                support, is arbitrary and capricious.
22
23    166.      Thus, the FEIS failed to establish that all air quality standards can be met with clear

24              data and analysis in violation of NEPA and FLPMA.
25
      Failure to Take a Hard Look at Baseline Conditions and Impacts to Wildlife
26
      167.      The FEIS failed to take a hard look at impacts from the proposed mine to Threatened,
27
                Sensitive and other special status birds, wildlife, and plants in the Project area,
28
                including State of Nevada Species of Conservation Concern and At-Risk species.



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 1             BLM does not have adequate baseline information to understand special status and
 2
               imperiled species’ presence in, and use of, the Project area and thus, to analyze how
 3
               they will be affected by the mine development.
 4
 5    168.     The establishment of the baseline conditions of the affected environment is a

 6             fundamental requirement of the NEPA process, because an inadequate environmental
 7             baseline precludes an accurate assessment of Project impacts. Or. Nat. Desert Ass’n
 8
               v. Jewell, 823 F.3d 1258 (9th Cir. 2016). “[W]ithout [baseline] data, an agency
 9
               cannot carefully consider information about significant environment impacts. Thus,
10
11             the agency fails to consider an important aspect of the problem, resulting in an

12             arbitrary and capricious decision.” N. Plains Resource Council, Inc. v. Surface
13             Transp. Bd., 668 F.3d 1067, 1085 (9th Cir. 2011).
14
      169.     In many cases, the biological information about the species is so vague as to render
15
               the analysis and any proposed mitigation meaningless. Plaintiffs provided detailed
16
17             scientific information on the baseline conditions and impacts to the affected species,

18             which were largely ignored by BLM.
19    Greater Sage-Grouse
20
      170.     As noted above, the Project will have serious impacts to greater sage-grouse that
21
               BLM has failed to consider or address. The Project will completely sever the southern
22
23             half of the eastern portion of the Lone Willow PMU from the northern portion—an

24             effect BLM overlooked in its sage-grouse analysis. And, according to NDOW, noise
25             from the Project may also have significant effects to the Montana-10 and Pole Creek
26
               01 leks, which in turn would affect the sage-grouse population in the Lone Willow
27
               PMU, but BLM failed to disclose or consider those likely effects.
28




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 1    171.     Moreover, while the FEIS admits that significant effects to sage-grouse are
 2             anticipated from the Project, it fails to provide basic information necessary to
 3             determine what those effects will be. It does not disclose baseline sage-grouse
 4
               populations in the Project area and in the PMU or describe how they use seasonal
 5
               habitats in the Project area. The FEIS does not even disclose which Priority Area for
 6
               Conservation (PAC) the PMU is in, although it is within the Western Great Basin
 7
               PAC, which extends into Oregon and California. Without this baseline information,
 8
               the FEIS fails to provide sufficient information to assess impacts to the bird from
 9
               likely destruction of the populations at Thacker Pass and the southeastern portion of
10
               the Lone Willow PMU. And, because there is no adequate baseline, monitoring to
11
               discern changes to sage-grouse populations in the Project area would be meaningless.
12
               Plaintiffs provided to BLM several resources concerning the need to consider effects
13
               to sage-grouse seasonal habitats at both landscape and local level scales to adequately
14
15             discern impacts to the birds, but these were ignored by BLM.

16    172.     The FEIS also does not disclose where leks are located relative to different types of

17             development and how they may be impacted. For instance, as NDOW pointed out in

18             comments: “Based on average lek attendance, the Montana-10 lek is one of the three

19             largest leks in the Lone Willow PMU and the loss of this lek would likely be of high

20             consequence to greater sage-grouse populations.” FEIS at R-184. But the FEIS does
21             not disclose how the impacts from the development of the Project within a mile of
22             this critical lek will likely affect sage- grouse populations in the Project area, the
23             PMU, or the PAC.
24    173.     Indeed, even though the FEIS discloses that, according to projections by NDOW,
25             noise from the Project will likely exceed levels known to cause declines in lek
26             attendance on two leks in the Project area, the FEIS does not disclose what those
27             impacts will be. See FEIS at 4-53. NDOW commented that noise from the Project
28
               could cause the critical Montana-10 lek to be abandoned, which would likely have

               population-level effects that BLM never considered. BLM refused to apply the 3.1


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 1             mile lek buffer recommended by the best available science to insulate sage-grouse
 2             from the effects of locatable mineral development. Plaintiffs likewise submitted
 3             numerous studies to BLM showing drastic sage-grouse population declines and lek
 4
               abandonment in response to disturbance from energy development and mining, but
 5
               these were again ignored by BLM.
 6
      174.     The Project area will be subject to long-term dewatering post-mine, which will likely
 7
               affect wet meadows used by sage-grouse during the brood-rearing season, but the
 8
               compensatory mitigation planned contains no permanent credits to offset those
 9
               impacts. See FEIS at 4-45. The lack of permanent mitigation credits means that long-
10
               lasting, persistent impacts to sage-grouse from the open pit mine are unaddressed.
11
      175.     Thus, many statements in the FEIS and in the BLM’s response to comments claiming
12
               the effects of the Project on sage-grouse will be fully mitigated through conservation
13
               credits are false. For example, the FEIS states in response to comments: “The
14
15             [Conservation Credit System] provides a regulatory mechanism for GRSG habitat

16             protection that ensures habitat effects from anthropogenic disturbances (debits) are

17             fully compensated by long-term enhancement and protection of habitat that result in a

18             net benefit for the species.” FEIS at R-106, R-135 (emphasis added). But this is

19             inaccurate and misleading as BLM does not require full compliance with all needed

20             Credits and understates the impacts to sage-grouse from the Mine.
21    176.     The FEIS also fails to consider reasonably foreseeable effects to sage-grouse from the
22             Project. For instance, it does not consider effects to sage-grouse from cutting off the
23             southeastern part of the PMU from the rest of the PMU, either to sage-grouse
24             populations in the PMU or to sage grouse population in the PAC of which the PMU is
25             part. Nor does it discuss effects to sage-grouse populations from likely decreases in
26             attendance or abandonment of the Montana-10 and Pole Creek 01 leks due to
27             unmitigated noise and disturbance from the Project.
28
      177.     The FEIS also does not consider effects of the Project in light of the effects of

               wildfire that eliminated 48 percent of the sagebrush habitat in the PMU. The FEIS


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 1             never discusses how much viable sage-grouse habitat remains in this PMU post fire,
 2             and how impacts from the mine would affect the remaining habitat.
 3    178.     The FEIS also does not disclose effects to sage grouse from permanent destruction of
 4
               nesting and brood-rearing habitat from mine-caused groundwater drawdown—effects
 5
               that are not offset in any way by the planned mitigation.
 6
      179.     Indeed, the FEIS does not disclose how impacts to any sage-grouse seasonal habitats
 7
               in the Project area are likely to affect the species. Plaintiffs submitted scientific
 8
               studies regarding sage-grouse habitat needs, including their use of seasonal habitats,
 9
               but these were again ignored by BLM.
10
      Golden Eagles
11
      180.     Golden eagles are protected under both the Bald and Golden Eagle Protection Act, 16
12
               U.S.C. §§ 668-668c (BGEPA), and the Migratory Bird Treaty Act, 16 U.S.C. §§ 703-
13
               712 (MBTA). Both laws prohibit “take” without permits. The BGEPA’s definition
14
15             of “take” includes disturbance, defined in later regulation as “to agitate or bother a

16             bald or golden eagle to a degree that causes, or is likely to cause, injury to an eagle, a

17             decrease in productivity, or nest abandonment.” 50 C.F.R. § 22.3.

18    181.     The Project’s eagle nest surveys for the Thacker Pass mine were conducted in 2018

19             and 2019 with a 10-mile buffer and an additional surveyed area beyond that going out

20             to about 20 miles to the south of the Project. See Thacker Pass Eagle Conservation
21             Plan at 10. Additional surveys with a 2-mile buffer were proposed for 2020. Thacker
22             Pass Eagle Conservation Plan at 10. Within the 10-mile buffer, 10 territories were
23             considered occupied in 2018 and 10 were considered occupied in 2019. Four
24             territories were considered occupied during the 2020 survey that used the new two-
25             mile buffer. FEIS at 4-57.
26    182.     Nevertheless, the FEIS concludes that only one nest is likely to be disturbed to an
27             extent that take is likely. FEIS at 4-57. As Plaintiffs explained to BLM, this
28
               conclusion is too low given the many nests, potential alternate nests and territories in

               the immediate area. For example, FEIS Figure 4.5-16 shows three golden eagle


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 1                territories overlapping the Project area, and concludes that two are unoccupied based
 2                on a single year of nest data, which does not accurately reflect golden eagle research.
 3    183.        Overall, BLM did not respond in the FEIS to the substantive comments and questions
 4
                  about golden eagles and the Bird and Bat Conservation Strategy that Plaintiffs raised
 5
                  in their comments on the DEIS. These concerns include potential disturbance “take”
 6
                  continuing after the end of the five-year take permit, potential “take” greater than
 7
                  authorized by the proposed take permit, the large number of eagle nests in the area,
 8
                  avoidance and minimization measures, monitoring and review of monitoring,
 9
                  research showing that golden eagle take is as likely to happen at alternate golden
10
                  eagle nests as at used golden eagle nests, the need to base nest risk data on multiple
11
                  years of data and not just one, and the need to install underground new powerlines at
12
                  the Project site to reduce risk to eagles and greater sage-grouse.
13
      Pronghorn
14
15    184.        Nearly the entire Project area is within pronghorn winter range. FEIS Figure 4.5-7.

16                The FEIS discloses that potential direct effects to pronghorn from the Project include

17                the loss of 427 acres of summer range and 4,960 acres of winter range over the life of

18                the mine or longer, depending on the success of reclamation. Two pronghorn

19                movement corridors lie within the Project area. These corridors facilitate access

20                between limited use and winter range habitat to the south of the Project area and
21                winter range, summer range, and year-round habitat to the north of the Project area,
22                and daily movement between the Quinn River Valley and the Montana Mountains.
23                The construction of Project facilities and the associated loss of habitat is likely to
24                prohibit or impede pronghorn movement between seasonal habitats and during daily
25                movement.
26    185.        The FEIS does not consider or disclose how severing these pronghorn movement
27                corridors, or destroying nearly 5,000 acres of pronghorn winter range, will impact
28
                  local pronghorn populations. The FEIS’ consideration of impacts to pronghorn from

                  the mine development appears limited to vague generalizations like the following:


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 1             “Surface disturbance associated with mining activities and development of mine
 2             facilities…would directly affect wildlife through the loss of potentially suitable
 3             habitat by vegetation removal, and removal of seeps and springs and seasonal water
 4
               sources for wildlife” and “Surface disturbance would also result in habitat
 5
               fragmentation. Habitat fragmentation can affect species use of the area by reducing
 6
               the landscape size for species that require large breeding or foraging ranges,
 7
               increasing barriers to migration or movement, changing abiotic and biotic factors
 8
               making the habitat less suitable, and reducing access to resources and potential
 9
               mates.” FEIS at 4-34.
10
      186.     But these generalizations do not address the effect of severing pronghorn migration
11
               corridors or destroying winter range on pronghorn.
12
      187.     While the FEIS appears to attempt to minimize the impact of the habitat destruction
13
               that will occur by comparing the amount of habitat to the total amount of habitat in
14
15             the regional Hunt Unit 31, it does not consider the significance of this specific

16             pronghorn habitat to the local pronghorn population. Plaintiffs submitted detailed

17             evidence addressing the effects of severing pronghorn migration corridors or

18             destroying winter range for BLM’s consideration but the agency largely ignored these

19             issues in the FEIS.

20    Amphibians
21    188.     Although the FEIS discloses that western toad, Columbia spotted frog, and northern
22             leopard frog—all Sensitive Species that BLM is mandated to conserve by its own
23             policy and by FLPMA—may be present in the Project area, no amphibian surveys
24             were conducted for the Project and no mitigation measures for amphibians were
25             adopted. The only amphibians specifically discussed in the FEIS is the western toad,
26             and the FEIS paradoxically claims that impacts to the toad are unlikely while
27             simultaneously admitting that “Western toads may be prevented from moving through
28
               disturbed upland habitats located between the limited amounts of aquatic/riparian




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 1              habitat in the Project area.” FEIS at 4-48. Thus, impacts to Western toads are likely,
 2              but the FEIS ignores those impacts.
 3    189.      The FEIS lacks an adequate baseline upon which to analyze Project effects to
 4
                amphibians from the mine development and has adopted no measures to avoid
 5
                impacts to amphibians, even though the mine will lower the water table, affecting
 6
                perennial and ephemeral waterbodies that these species use. The FEIS fails to even
 7
                mention numerous amphibians that are likely to be present in the Project area.
 8
      Springsnails
 9
      190.      Two species of springsnails were found in the Project area during wildlife surveys,
10
                the Kings River pyrg (Pyrgulopsis imperialis) and the turban pebblesnail
11
                (Fluminicola turbiniformis). See FEIS Appendix G unnumbered page 129 of 133.
12
                The Kings River pyrg is a critically imperiled endemic species at high risk of
13
                extinction (NatureServe conservation score G1, N1, S1), and the turban pebblesnail is
14
15              a vulnerable species at moderate risk of extinction or elimination (NatureServe

16              conservation score G3,S3). The Kings River pyrg is on the State of Nevada’s At Risk

17              Tracking List of imperiled species, which are considered at highest risk of extirpation

18              or extinction. The turban pebblesnail is on the State of Nevada’s Watch List of

19              species of long-term concern. The FEIS does not disclose these At Risk and Watch

20              List statuses, instead merely describing the springsnails as “NDOW species of
21              conservation priority.” FEIS Appendix G at unnumbered page 120 of 133. In
22              addition, the Kings River pyrg’s high risk of extinction is nowhere discussed in the
23              FEIS.
24    191.      The FEIS does not provide clear information as to the number of Kings River pyrg
25              that were found, how many springs contained them, or which springs contained them,
26              thus making it impossible for anyone, including BLM, to accurately assess risk to the
27              pyrg from the Mine. Instead, the FEIS merely states: “Springsnails were surveyed at
28
                13 undeveloped springs in the survey area. During surveys for springsnails, the

                Kings River pyrg (Pyrgulopsis imperialis) was found at all springs collected.” FEIS


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 1              Appendix G at unnumbered page 129 of 133. Since the Kings River pyrg is an
 2              endemic species only known to exist in 13 locations, the local area might contain the
 3              entire known population of the Kings River pyrg. See Conservation Strategy for
 4
                Springsnails Summary Reports at 4. Threats and stressors to springsnails include
 5
                water depletions, like the dewatering effects associated with the Mine. NDOW asked
 6
                in its FEIS comments for monitoring of five of the 13 springs where Kings River pyrg
 7
                were found to be present, but the ROD contains no commitment to monitoring those
 8
                springs. NDOW FEIS comments at 4-5. See also Wildlife Resource Consultants,
 9
                Lithium Nevada 2018 Springsnail (Pyrgulopsis spp.) Survey, at p. 7, December 19,
10
                2018.
11
      192.      Instead of disclosing and discussing springsnail threats, stressors, and extinction risk,
12
                the FEIS fails to mention either the Kings River pyrg or the turban pebblesnail by
13
                name in its impacts analysis and states that there will be no direct impacts to
14
15              springsnails. FEIS at 4-48, 4-50. As for indirect impacts, the FEIS directs the reader

16              to section 4.5.3 (potential impacts of groundwater drawdown to wildlife). But that

17              section does not disclose whether there will be indirect impacts to springsnails or that

18              the potential indirect impacts to wildlife in the Project area may include extinction.

19              FEIS at 4-53 to 4-55. Nor does the FEIS propose any mitigation specifically for

20              springsnails, or explain how the Kings River pyrg will maintain its representation,
21              resiliency, and redundancy, which are all necessary for population integrity and
22              species survival.
23    Lahontan Cutthroat Trout
24    193.      BLM also failed to analyze the baseline conditions and impacts to Lahontan cutthroat
25              trout (LCT), which is protected under the federal Endangered Species Act (ESA), 16
26              U.S.C. §§ 1531 et seq., due to the agency’s unsupported position that the Project will
27              not have any effect on LCT in Crowley Creek, Pole Creek, and related habitat within
28
                the Project area. BLM erroneously assumed, in contradiction of the record, that there




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 1             was no LCT stream habitat that would be affected by the Project’s dewatering and
 2             other operations.
 3    194.     BLM approved the ROD based on the FEIS’s inadequate, incomplete, and, in several
 4
               cases, incorrect analysis and collection of the baseline streamflow data and, thereby
 5
               failed to consider the likely impacts of the Mine on the LCT populations in Pole
 6
               Creek and Crowley Creek.
 7
      195.     BLM also elected not to apply quantitative buffers to Pole Creek, Crowley Creek, and
 8
               spring sites in the Project area as requested by NDOW to protect LCT.
 9
      196.     In reliance on the flawed data provided by the company’s consultants, BLM did not
10
               consult with the U.S. Fish and Wildlife Service (FWS), based on BLM’s erroneous
11
               belief that there would “no effect” to LCT from the mine, including the mine’s large-
12
               scale dewatering of the regional aquifer.
13
      197.     Yet the ESA requires such consultation when BLM takes an action (such as
14
15             reviewing and approving a mine plan) that “may affect listed species or critical

16             habitat” for that species. Karuk Tribe of California v. U.S. Forest Service, 681 F.3d

17             1006, 1020 (9th Cir. 2012) citing 16 U.S.C. §1536(a)(2) and quoting 50

18             C.F.R.§402.14(a). “We have previously explained that ‘may affect’ is a ‘relatively

19             low’ threshold for triggering consultation.” Karuk Tribe, 681 F.3d at 1027.

20    198.     Due to the ESA’s jurisdictional requirement that Plaintiffs may not assert a failure-to-
21             consult claim under the ESA before providing BLM, FWS, and related officials with
22             60 days’ notice, Plaintiffs intend to promptly file such notice and, if BLM does not
23             comply with the ESA within those 60 days, amend this Complaint to add such claim
24             under the ESA.
25    199.     In any event, however, the FEIS’ erroneous determination that there will be “no
26             effect” from the Mine on LCT or its habitat violates NEPA’s and FLPMA’s mandates
27             that BLM fully and accurately analyze all baseline conditions and environmental
28
               impacts of the Mine.




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 1    Failure to Adequately Analyze Cumulative Impacts
 2    200.      As noted, NEPA requires BLM to consider cumulative impacts associated with
 3              actions it approves. “‘Cumulative impact’ is the impact on the environment which
 4
                results from the incremental impact of the action when added to other past, present,
 5
                and reasonably foreseeable future actions regardless of what agency (Federal or non-
 6
                Federal) or person undertakes such other actions. Cumulative impacts can result from
 7
                individually minor but collectively significant actions taking place over a period of
 8
                time.” 40 C.F.R. § 1508.7.
 9
      201.      As the Ninth Circuit held: “[i]n a cumulative impact analysis, an agency must take a
10
                ‘hard look’ at all actions’ that may combine with the action under consideration to
11
                affect the environment. Te–Moak Tribe of W. Shoshone of Nev. v. U.S. Dep't of
12
                Interior, 608 F.3d 592, 603 (9th Cir. 2010).” Great Basin Resource Watch, 844 F.3d
13
                at 1104 (emphasis in original). BLM failed to do that here.
14
15    202.      The FEIS fails to adequately analyze the cumulative impacts from the other proposed

16              activities within the cumulative effects study area on wildlife, air quality, and other

17              potentially affected resources.

18    203.      NEPA’s obligation to consider cumulative impacts extends to all “past,” “present,”

19              and “reasonably foreseeable future actions.” 40 C.F.R. § 1508.7. This analysis must

20              include Project-specific cumulative data, a detailed quantified assessment of other
21              projects’ combined environmental impacts, and objective quantification of the
22              impacts from other past, existing and proposed activities within the Cumulative Effect
23              Study Area (CESA). Great Basin Resource Watch, 844 F.3d at 1104-06.
24    204.      The FEIS acknowledges the large “Cumulative Effects Study Area” for critical
25              resources that will be affected by the Project:
26
27
28




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 1
 2    Table 5.1. Cumulative Effects Study Areas by Resource
 3
                                                                                            Size of
 4    Resource                    CESA Description                  CESA Name               CESA
                                                                                            (acres)
 5
 6                                                                  Groundwater
                                  Effect Model Domain                                       288,501
                                                                    CESA
      Water Resources
 7                                Quinn River and Kings River       Surface Water
                                                                                            596,480
                                  Valley hydrographic basins        CESA
 8                                Quinn River and Kings River
      Vegetation and Wetlands                                       Vegetation CESA         596,480
 9                                Valley hydrographic basins
      General Wildlife            NDOW Hunt Unit 031                Recreation CESA          86,104
10    Special Status Species –
                                  Lone Willow PMU                   GRSG CESA               480,106
      GRSG
11
      Special Status Species –    Project area and a 10-mile
                                                                    Eagle CESA              218,391
12    Eagles                      buffer
      Special Status Species –    Quinn River and Kings River
13                                                                  LCT CESA                596,480
      LCT                         Valley hydrographic basins
14               FEIS at 5-1.
15    205.       BLM lists some of the other activities within the Thacker Pass CESA:
16
      Table 5.2. Surface Disturbance Associated with Past and Present Actions and RFFAs
17    within the Resource CESAs
18                                                Past and          Projected                  Total
19                                                  Present             RFFA            Disturbance
      Action
                                               Disturbance        Disturbance                (acres)
20                                                   (acres)           (acres)
      Mines and Quarries
21
      National Mine Exploration Project1                    -              200                  200
22    Moonlight Uranium Mine                             14.6                -                 14.6
      Kings Valley Clay Mine                             50.5                -                 50.5
23    Sand and Gravel Operations                           24                -                   24
24    Utilities and Infrastructure
      Roads                                          12,485                   -              12,485
25    Railroads                                       1,479                   -               1,479
      Communication Sites                               249                   -                 249
26
      Transmission Lines                              4,209                   -               4,209
27    Other
      Wildfires                                      22,459                  -               22,459
28    Total                                          40,970                200               41,170
                 FEIS at 5-2.


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 1    206.     Yet the FEIS contains little, if any, of the detailed analysis of these and other past,
 2             present, and reasonably foreseeable future activities within the CESA that may
 3             cumulatively affect these resources.
 4
      207.     BLM simply lists the acreages of these activities, with no detailed impacts analysis:
 5
                  Reasonably Foreseeable Future Actions
 6                RFFAs for the Thacker Pass Lithium Mine EIS cumulative effects analysis include
 7                other projects or actions that potentially affect those resources that would be
                  affected by the Proposed Action during the same period of time (including final
 8                reclamation). RFFAs for which disturbance acreages can be quantified are
                  presented in Table 5.2 and RFFAs for which disturbance acreages are unknown are
 9                described below. RFFAs identified in this section must also have been determined
10                by the BLM as having a reasonable likelihood of moving forward towards
                  development and to be located within the boundaries of the various CESAs for the
11                Proposed Action.
12                Other development predicted in the Winnemucca District Resource Management
13                Plan that could contribute to cumulative effects includes renewable energy
                  facilities, utility and road rights of way, vegetation treatments and hazardous fuels
14                reduction, spread and invasion of noxious weeds, continued changes and possible
                  intensification to Nevada’s climate in association with global climate change, and
15                increasing wildfire occurrence and intensity.
16             FEIS at 5-3.
17    208.     The Ninth Circuit recently rejected a similarly cursory analysis contained in another
18             BLM EIS for a large open pit mine in Nevada:
19
                  [I]n a cumulative impact analysis, an agency must take a ‘hard look’ at all
20                actions” that may combine with the action under consideration to affect the
21                environment. Te–Moak Tribe of W. Shoshone of Nev. v. U.S. Dep't of Interior,
                  608 F.3d 592, 603 (9th Cir. 2010) (emphasis added). Furthermore, simply listing
22                all relevant actions is not sufficient. Rather, “some quantified or detailed
                  information is required. Without such information, neither the courts nor the
23                public ... can be assured that the [agency] provided the hard look that it is required
24                to provide.” Neighbors of Cuddy Mountain v. U.S. Forest Serv., 137 F.3d 1372,
                  1379 (9th Cir. 1998).
25
               Great Basin Resource Watch v. BLM, 844 F.3d 1095, 1104 (9th Cir. 2016)(emphasis
26
               added).
27
      209.     NEPA requires “mine-specific . . . cumulative data,” a “quantified assessment of their
28
               [other projects] combined environmental impacts,” and “objective quantification of




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 1             the impacts” from other existing and proposed operations in the region. Great Basin
 2             Mine Watch v. Hankins, 456 F.3d 955, 971-74 (9th Cir. 2006). The Ninth Circuit in
 3             Great Basin Mine Watch v. Hankins specifically rejected BLM’s argument that a list
 4
               of other projects and their acreages satisfied NEPA’s cumulative impacts analysis
 5
               requirements: “A calculation of the total number of acres to be impacted by other
 6
               projects in the watershed is a necessary component of a cumulative effects analysis,
 7
               but is not a sufficient description of the actual environmental effects that can be
 8
               expected.” Id. at 973 (citations omitted).
 9
      210.     For example, the FEIS does not even mention the ongoing McDermitt lithium drilling
10
               project just to the north across the Oregon border that will have significant impacts on
11
               sage grouse, pronghorn, and other wildlife species. https://company-
12
               announcements.afr.com/asx/jrl/25f78400-278c-11eb-ac8c-2e2b57e0ab13.pdf (Nov.
13
               16, 2020) (depicting and describing drilling and activities over thousands of acres).
14
15    211.     For the sage grouse, BLM arbitrarily cuts off its review of cumulative impacts at the

16             Nevada/Oregon border, limiting its review to only the “Lone Willow PMU” which

17             ends at the border. FEIS at 5-1. Yet the Lone Willow PMU is part of a larger sage

18             grouse PAC (Priority Area of Conservation) that does not end at the OR-NV state

19             line. See U.S. Fish and Wildlife Service, 2013, Greater Sage-grouse (Centrocercus

20             urophasianus) Conservation Objectives: Final Report. U.S. Fish and Wildlife Service,
21             at 14 (Figure 2. Sage-grouse management zones (Stiver et al. 2006) and Priority
22             Areas for Conservation (PACs)).
23             https://www.fws.gov/greatersagegrouse/documents/COT-Report-with-Dear-
24             Interested-Reader-Letter.pdf
25    212.     The FEIS also arbitrarily truncates its review of cumulative impacts to other wildlife
26             at the Oregon/Nevada border, even though it is obvious that wildlife movement and
27             impacts do not recognize such an arbitrary line. For example, the FEIS limits its
28
               consideration of cumulative wildlife impacts to “General Wildlife” to just the

               “NDOW Hunt Unit 031” covering the “Recreation CESA” of just 86,104 acres. FEIS


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 1              at 5-1 (Table 5.1 “Cumulative Effects Study Areas by Resource,”). Yet BLM
 2              provides no analysis as to why the “Hunt Unit” area comprises all of the affected
 3              wildlife resources. There is no analysis to support these arbitrary limits to cumulative
 4
                impacts to wide-ranging species such as migratory pronghorn.
 5
      Failure to Adequately Analyze Mitigation Measures and Their Effectiveness
 6
      213.      NEPA requires DOI/BLM to fully analyze mitigation measures, their effectiveness, and
 7
                any impacts that might result from their implementation. NEPA regulations require that
 8
                an EIS: (1) “include appropriate mitigation measures not already included in the
 9
                proposed action or alternatives,” 40 C.F.R. § 1502.14(f); and (2) “include discussions of:
10
                . . . Means to mitigate adverse environmental impacts (if not already covered under
11
                1502.14(f)).” 40 C.F.R. § 1502.16(h). As noted herein, that did not occur in this case.
12
      214.      NEPA requires that DOI/BLM review mitigation measures as part of the NEPA process
13
                -- not in some future decision shielded from public review. Id.
14
15                  Putting off an analysis of possible mitigation measures until after a project has
                    been approved, and after adverse environmental impacts have started to occur,
16                  runs counter to NEPA’s goal of ensuring informed agency decisionmaking. See
17                  Robertson, 490 U.S. at 353, 109 S.Ct. 1835 (“Without [a reasonably complete]
                    discussion [of mitigation], neither the agency nor other interested groups and
18                  individuals can properly evaluate the severity of the adverse effects.”).
19              Great Basin Resource Watch, 844 F.3d at 1107.

20    215.      BLM has the duty under FLPMA to mitigate all adverse impacts:
21
                    Although other Federal and State agencies regulate various aspects of mining
22                  under other statutes, BLM has its own responsibilities under FLPMA and the
                    mining laws to protect the resources and values of the public lands from
23                  unnecessary or undue degradation.
                    …
24
                    [S]ections 302(b) and 303(a) of FLPMA, 43 U.S.C. 1732(b) and 1733(a), and the
25                  mining laws, 30 U.S.C. 22, provide the BLM with the authority to require
                    mitigation. Mitigation measures fall squarely within the actions the Secretary
26                  can direct to prevent unnecessary or undue degradation of the public lands.
                    An impact that can be mitigated, but is not, is clearly unnecessary.
27
                65 Fed.Reg. 69998, 70053 (November 21, 2000)(Preamble to BLM’s 43 C.F.R. Part
28
                3809 mining regulations)(emphasis added).



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 1    216.     The FEIS and ROD do not contain the required analysis of mitigation measures for
 2             the affected resources, nor a credible analysis of the effectiveness of these measures.
 3    217.     For the predicted groundwater pollution, as noted above, EPA found that the FEIS
 4
               lacked the required analysis:
 5
                     While the Final EIS includes three conceptual options that have the potential to
 6                   mitigate antimony groundwater contamination (Appendix P Part 1 p. 154-159),
 7                   the plans are not developed with an adequate level of detail to assess whether
                     or how groundwater quality downgradient from the pit would be effectively
 8                   mitigated. In our comments on the Draft EIS, the EPA recommended more
                     detailed information about how effective these potential mitigation options could
 9                   be, and an evaluation of additional disturbance and impacts from implementing
10                   the proposed mitigation options (40 CFR 1508.25(a)(1)(iii)).

11             EPA’s Detailed Comments on FEIS at 1 (emphasis added).

12    218.     EPA highlighted how BLM failed to respond to these serious concerns:

13                   In response, the BLM stated that options for blending/discharge and active
                     treatment “have not been evaluated, and therefore may not be feasible for
14
                     consideration as mitigation for the Final EIS” (Appendix R p. R-180).
15                   Therefore, conclusions in the Final EIS that groundwater quality
                     management plans would “effectively mitigate impacts to groundwater
16                   quality downgradient from the pit” (p. 4-25) are not adequately supported.
17
               Id.
18
      219.     EPA criticized BLM for failing to meet its environmental protection responsibilities
19
               at the Mine: “Without detailed information about mitigation and its efficacy, it is
20
21             unclear how a Record of Decision could state that all practicable means to avoid

22             or minimize environmental harm from the alternative selected have been
23
               adopted.” Id. (emphasis added).
24
      220.     EPA also noted that LNC recently submitted a new mitigation plan that purportedly
25
               reduces the ground water pollution – but that this plan was submitted long after the
26
27             NEPA public review process ended. “This revised monitoring plan includes a new

28             potential future mitigation option for groundwater quality impacts that was not

               discussed in the Draft or Final EIS.” Id. (emphasis added).


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 1    221.      The FEIS also does not include any plans for public review regarding the needed
 2
                mitigation for the long-term treatment of the toxic seepage from the tailings facility,
 3
                as noted above.
 4
 5    222.      Under NEPA, BLM cannot rely on purported mitigation measures to comply with

 6              environmental protection standards when those mitigation measures have not been
 7              subject to public review. “[A] post-EIS analysis – conducted without any input from
 8
                the public – cannot cure deficiencies in an EIS.” Great Basin Resource Watch, 844
 9
                F.3d at 1104.
10
11    223.      Likewise, EPA specifically criticized the lack of such analysis for wildlife mitigation,

12              for instance:
13                 The Final EIS did not include a mitigation, monitoring, and adaptive
14                 management plan for wildlife mitigation measures SSS-1 to SSS-9 (p. 4-62 to
                   4-65). Although the updated Plan of Operations included a monitoring plan in
15                 Appendix H, this did not include information on these measures. The EPA is
                   concerned that several of these measures require additional monitoring and
16                 adaptive management to ensure mitigation success, such as creating the artificial
17                 burrowing system for western burrowing owls (SSS-7; p. 4-64, 65) and roosting
                   bat habitat (SSS-9; p. 4-65).
18
                EPA Detailed Comments on FEIS, at 2 (emphasis added).
19
      224.      The FEIS also assumes that compensatory mitigation will fully address impacts to
20
                sage-grouse, even though LNC has purchased no permanent conservation credits to
21
                offset permanent dewatering from the mine that will affect water resources sage-
22
                grouse need for brood-rearing and summer habitats.
23
24
      Failure to Determine the Project’s Reclamation Costs and Financial Assurances
25
      225.      In the ROD, BLM approved LNC’s Plan of Operation for the Projects (both the Mine
26
27              and the Exploration project) without determining the reclamation and related costs as

28              required by BLM’s FLPMA mining regulations.




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 1    226.     BLM mining regulations require that all activities in the Plan of Operations be
 2
               covered by a “financial guarantee” that “must cover the estimated cost as if BLM
 3
               were to contract with the third party to reclaim your operations according to the
 4
 5             reclamation plan, including construction and maintenance costs for any treatment

 6             facilities necessary to meet Federal and State environmental standards.” 43 C.F.R. §
 7             3809.552(a).
 8
 9    227.     The “reclamation cost determination” made by BLM is the amount of monies that

10             must be covered by the financial guarantee. 43 C.F.R. § 3809.554. Financial

11             guarantee instruments can take the form of “surety bonds,” cash, “irrevocable letters

12             of credit from a bank or financial institution,” “certificates of deposit or savings

13             accounts,” “negotiable United States Government, State and Municipal securities or
14             bonds,” “Investment-grade rated securities,” or insurance with a “rating of ‘superior’
15             or an equivalent from a nationally recognized insurance rating service.” 43 C.F.R. §
16             3809.555(a)-(f).
17    228.     The required Reclamation Cost Estimate (RCE) submitted by the operator forms the
18             basis for the reclamation cost determination made by BLM. “The BLM FO [Field
19             Office] or other delegated AO [Authorized Officer] issues a written determination of
20
               the named operator’s reclamation cost estimate (RCE) and required bond amount for
21
               existing and/or proposed disturbance on the specified operations.” BLM Surface
22
               Management Bond Processing Handbook, H-3809-2, at II-1.
23
      229.     BLM’s “Surface Management Handbook, H-3809-1” which governs the review and
24
               approval of mining operations, requires that the reclamation cost determination be
25
               made and established at the time the ROD approving the mining plan is issued.
26
27                A decision approving a Plan of Operations and stating the conditions of approval
                  must be sent to the operator by certified mail, return receipt requested. The
28                decision must state the estimated reclamation cost determination and the
                  financial guarantee amount. The decision must also remind the operator that




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 1                surface disturbing activity cannot begin until the financial guarantee has been
 2                accepted and obligated by the BLM.

 3             BLM Handbook H-3809-1, at 4-45 (emphasis added).

 4    230.     In addition, due to the need to treat the contaminated water releases from the Project,

 5             from both the mine pit and the tailings, BLM is required to establish a Long-Term

 6             Funding Mechanism for the Project. See BLM Guidelines for Establishing a Long

 7             Term Funding Mechanism (LTFM); 43 C.F.R. § 3809.552(c). “[Y]ou must establish
 8             a trust fund or other funding mechanism available to BLM to ensure the continuation
 9             of long-term treatment to achieve water quality standards and for other long term,
10             post-mining maintenance requirements. The funding must be adequate to provide for
11             construction, long-term operation, maintenance, or replacement of any treatment
12             facilities and infrastructure, for as long as the treatment and facilities are needed after
13             mine closure. BLM may identify the need for a trust fund or other funding
14             mechanism during plan review or later.” 43 C.F.R. § 3809.552(c).
15
      231.     Despite this, the ROD does not contain the required reclamation cost determinations,
16
               including the LTFM, for the operations approved in the ROD.
17
      232.     The FEIS contains the Reclamation Cost Estimate (RCE) for the “Thacker North
18
               South Exploration Project.” FEIS Appendix B. But, critically, neither the ROD nor
19
               the FEIS mention the RCE for the much larger and extensive Mine Project.
20
      233.     Although the company acknowledged that the RCE was required, it admitted that
21
               none was submitted:
22
23                Per 43 CFR 3809 and NAC 519A.365, operators are required to provide the BLM
                  and NDEP with a Reclamation Cost Estimate. The Reclamation Cost Estimate
24                will be prepared at a later date when the Plan review and approval process has
                  progressed to the point where the BLM, NDEP, and LNC (the operator) can
25                anticipate what the approved Plan might look like. Per 43 CFR 3809.401(d), the
26                operator will submit the Reclamation Cost Estimate during the appropriate time
                  during the Plan review and approval process.
27
28




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 1             LNC mine plan, Appendix J (emphasis added).
 2             https://eplanning.blm.gov/public_projects/1503166/200352542/20023464/250029668
 3             /Appendix%20J%20Insert_508.pdf
 4
      234.     The BLM in Nevada regularly follows BLM’s reclamation financial requirements for
 5
               the determination of the reclamation cost estimate in decisions approving mining
 6
               Plans of Operations. See Decision approving the Prospect Mountain Mine Project
 7
               southwest of Eureka. In approving the Plan of Operations for that mine, BLM stated:
 8
 9                AMOUNT OF FINANCIAL GUARANTEE
                  This office has determined that the amount of $489,175 is sufficient to meet all
10                anticipated reclamation requirements for the Project.
                  …
11                The operator must submit an acceptable financial guarantee in the amount of
12                $489,175 to the Bureau of Land Management.
               July 12, 2019 “Decision, Plan of Operations Approval, Determination of Required
13
               Financial Guarantee Amount [Prospect Mountain Project],” at 3-4.
14
15             https://eplanning.blm.gov/epl-front-

16             office/Projects/nepa/108000/176864/215537/20190712_Gullsil_ProspectMtn_Decisio

17             nRecord.pdf (viewed February 8, 2021).

18    235.     Yet as noted above, BLM failed to make these required determinations in the ROD

19             for the Project, which approved the two Plans of Operations for the mine and

20             exploration project.
21    236.     For another large mine in Nevada, BLM’s ROD approving the plan of operations
22             established the reclamation bond and LTFM. For the Mount Hope Project,
23             BLM accepted the company’s RCE and the 2012 ROD approving that company’s
24             Plan of Operations included the required reclamation cost determination. The 2012
25             for the Mount Hope Project, the BLM ROD “determined that the required financial
26             guarantee amount is hereby set at $73,360,363 for the 7,992 acres of surface
27
               disturbance on public and private lands associated with the first three years of
28
               operations for the Project (NVN-082096), as described in the Plan. The proponent




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 1             must provide a financial guarantee in this amount using one or more of the acceptable
 2             financial guarantee instruments listed under 43 CFR § 3809.55.” BLM Mount Hope
 3             2012 ROD at 30.
 4
      237.     In addition, BLM’s Mount Hope 2012 ROD established a Long-Term Funding
 5
               Mechanism for the Project:
 6
                  Pursuant to the Guidelines for Establishing a Long Term Funding Mechanism
 7                (LTFM) and in accordance with 43 CFR § 3809.552(c), the BLM has determined
 8                that a LTFM will be required for post-reclamation obligations (including long-
                  term monitoring and mitigation) associated with the closure process of the Mount
 9                Hope Project. …
10                The LTFM will include the establishment of a trust fund that is implemented
11                through The Mt. Hope Project Long-Term Irrevocable Trust and the Mt. Hope
                  Project Long-Term Trust Agreement (collectively “Agreements”). EML will fund
12                the initial amount of the trust fund in the amount of $271,912. The initial funding
                  amount was calculated based on the projected costs of implementing the above-
13                described post-reclamation requirement for approximately 500 years. Total cost
14                of the mitigation and monitoring over the 500 year period is anticipated to be
                  $83,202,396. The creation and funding of the LTFM does not preclude BLM
15                from requiring further reclamation, monitoring or mitigation pursuant to 43 CFR
                  § 3809 should conditions warrant.
16
17                Funding requirements are currently being finalized and, upon acceptance by the
                  BLM, all funding mechanisms must be put in place in accordance with the
18                Agreements. Documentation of such funding shall be provided to the Bureau of
                  Land Management, Nevada State Office, Branch of Minerals Adjudication, 1340
19                Financial Blvd., Reno, NV 89502-7147.
20             BLM 2012 ROD for the Mount Hope Project at 31.
21    238.     Yet, at Thacker Pass, BLM failed to analyze or include any such financial
22
               requirements for public review, or as part of the FEIS or ROD.
23
      239.     EPA specifically faulted BLM for failing to comply with the reclamation bonding
24
               requirements, especially given the need for long-term mitigation and treatment of the
25
               water pollution from the Thacker Pass Project:
26
                  Funding for Long-Term Post-Closure Water Management
27
                  The EPA has expressed concerns through the NEPA process regarding the
28                adequacy of funding for long-term post-closure management. Given that
                  management of antimony would be required in perpetuity, it is important to
                  demonstrate that sufficient financial resources would be available to ensure



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 1                 successful implementation of post-closure WPCP monitoring and mitigation
 2                 commitments. It is important to evaluate the likelihood that required mitigation
                   will be implemented, and we believe that financial assurance is a critical tool for
 3                 this evaluation.
 4                 BLM’s Guidelines for Establishing a Long-Term Funding Mechanism states that
 5                 if an EIS identifies water quality issues requiring long-term treatment that the
                   “district/field manager must require a financial guarantee to address those PRO
 6                 [post-reclamation obligations].”3 Therefore, it remains unclear why an LTFM has
                   not been disclosed, discussed, or evaluated in the NEPA process. We strongly
 7                 encourage the BLM to discuss the need for an LTFM in the ROD.
 8             EPA Detailed Comments at 2-3.
 9    240.     EPA also requested that the ROD specify these financial requirements:
10
                   Recommendations for the ROD:
11                 Commit to an LTFM if required by the activities and conditions in the WPCP to
                   monitor and mitigate for antimony groundwater contamination in perpetuity.
12                 Determine an appropriate level of funding for post-closure management
13                 monitoring and disclose the specific mechanism that would be established for the
                   preferred alternative. Analyze the adequacy of the disclosed funding amount and
14                 funding mechanism to ensure that all financial obligations would be met and all
                   required mitigation will be completed. Include projected costs for any post-
15                 closure activities and discuss whether the BLM would impose a requirement on
16                 the mine operator, LNC, to establish a trust fund or other funding mechanism to
                   ensure post-closure care, in accordance with 43 CFR 3809 and BLM’s H-3809-1
17                 Surface Management Handbook.
18             Id. at 3.

19    241.     Despite this, BLM refused to include any information on the reclamation bond or
20             LTFM in the ROD approving the Project.
21    242.     BLM’s failure to include the reclamation cost bond/financial guarantee amount for
22             either the Plans of Operations for the Mine or the Exploration violates FLPMA and its
23             implementing regulations, as well as the public comment and review requirements of
24             NEPA.
25
26
27
28




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 1                                       CLAIMS FOR RELIEF
 2                                      FIRST CAUSE OF ACTION
 3
      Violation of FLPMA – Violation of the Wildlife Provisions of the Controlling Resource
 4    Management Plans
 5
      243.      The allegations in the previous paragraphs are reasserted as if fully stated herein.
 6
      244.      The ROD, FEIS and Project approvals do not comply with the Winnemucca RMP and
 7
 8              the applicable RMP for protection of the Greater Sage Grouse as required by

 9              FLPMA. In particular, the ROD will allow for destructive development in sage-

10              grouse habitats that exceeds the project-level three percent disturbance cap, without

11              applying the criteria required to deviate from that cap, and without applying noise

12              limits, lek buffers, or required design features, or fully offsetting impacts to sage-

13              grouse through compensatory mitigation.
14    245.      Instead, BLM based its review and approval of the Project on an erroneous legal
15              assumption that LNC had statutory rights to conduct all of their proposed operations,
16              including the permanent use and occupation of public lands for the waste rock and
17              tailings dumps, without the necessary factual evidence to support the establishment of
18              those rights, thus failing to properly review and regulate the Project under FLPMA to
19              protect public resources and the public interest, in violation of FLPMA and its
20
                implementing regulations.
21
      246.      BLM’s actions and omissions noted above regarding its review and approval of the
22
                Thacker Pass Project violate FLPMA and its implementing regulations. BLM’s
23
                actions and omissions in reviewing and approving the Project are arbitrary,
24
                capricious, an abuse of discretion, not in accordance with law, without observance of
25
                procedure required by law, and in excess of statutory jurisdiction, authority, or
26
                limitations, within the meaning of the judicial review provisions of the APA. 5 U.S.C.
27
                §§ 701-706.
28




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 1                                   SECOND CAUSE OF ACTION
 2
      Violation of FLPMA – Violation of the Visual Resource Provisions of the Controlling
 3    Resource Management Plan
 4
      247.      The allegations in the previous paragraphs are reasserted as if fully stated herein.
 5
      248.      The ROD, FEIS and Project approvals violate the Winnemucca RMP’s Visual
 6
                Resource (VRM) requirements as required by FLPMA.
 7
      249.      BLM would have needed to complete an RMP Amendment to legally move forward
 8
 9              with the Project but did not.

10    250.      Instead, BLM based its review and approval of the Project on an erroneous legal

11              assumption that LNC had statutory rights to conduct all of their proposed operations,

12              including the permanent use and occupation of public lands for the waste rock and

13              tailings dumps, without the necessary factual evidence to support the establishment of

14              those rights, thus failing to properly review and regulate the Project under FLPMA to
15              protect public resources and the public interest, in violation of FLPMA and its
16              implementing regulations.
17    251.      BLM’s actions and omissions noted above regarding its review and approval of the
18              Thacker Pass Project violate FLPMA and its implementing regulations. BLM’s
19              actions and omissions in reviewing and approving the Project are arbitrary,
20              capricious, an abuse of discretion, not in accordance with law, without observance of
21
                procedure required by law, and in excess of statutory jurisdiction, authority, or
22
                limitations, within the meaning of the judicial review provisions of the APA. 5 U.S.C.
23
                §§ 701-706.
24
                                       THIRD CAUSE OF ACTION
25
      Violation of FLPMA and NEPA – Review and Approval of the Project Based On
26    Unsupported Assumptions of LNC’s “Valid Existing Rights” Under the 1872 Mining Law
27
28    252.      The allegations in the previous paragraphs are reasserted as if fully stated herein.




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 1    253.     BLM based its review and approval of the Project on an erroneous legal assumption
 2             that LNC had statutory “valid existing rights” to conduct all of their proposed
 3             operations, including the permanent use and occupation of public lands for the waste
 4
               rock and tailings dumps, without the necessary factual evidence to support the
 5
               establishment of those rights, thus failing to properly review and regulate the Project
 6
               under FLPMA to protect public resources and the public interest, in violation of
 7
               FLPMA, NEPA, and their implementing regulations.
 8
      254.     BLM’s actions and omissions noted above regarding its review and approval of the
 9
               Thacker Pass Project violate FLPMA and its implementing regulations. BLM’s
10
               actions and omissions in reviewing and approving the Project are arbitrary,
11
               capricious, an abuse of discretion, not in accordance with law, without observance of
12
               procedure required by law, and in excess of statutory jurisdiction, authority, or
13
               limitations, within the meaning of the judicial review provisions of the APA. 5 U.S.C.
14
15             §§ 701-706.

16                                         FOURTH CAUSE OF ACTION

17    Violation of NEPA and FLPMA – Failure to Adequately Analyze Mitigation Measures and
      Their Effectiveness
18
19    255.     The allegations in the previous paragraphs are reasserted as if fully stated herein.
20
      256.     In the ROD and FEIS, BLM failed to adequately and accurately analyze mitigation
21
               measures, and the effectiveness of those measures, as required by NEPA and
22
               FLPMA.
23
      257.     BLM’s actions and omissions noted above regarding its review and approval of the
24
               Project, violate NEPA, FLPMA and their implementing regulations. BLM’s actions
25
               and omissions in reviewing and approving the Project are arbitrary, capricious, an
26
               abuse of discretion, not in accordance with law, without observance of procedure
27
               required by law, and in excess of statutory jurisdiction, authority, or limitations,
28




                                                    65
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 1             within the meaning of the judicial review provisions of the APA. 5 U.S.C. §§ 701-
 2             706.
 3
                                      FIFTH CAUSE OF ACTION
 4
      Violation of NEPA and FLPMA – Failure to Adequately Analyze Direct, Indirect, and
 5    Cumulative Impacts
 6
 7    258.     The allegations in the previous paragraphs are reasserted as if fully stated herein.

 8    259.     In the FEIS and ROD, BLM failed to adequately and accurately analyze the Project’s

 9             direct, indirect and cumulative impacts to wildlife, air and water resources, and all

10             other potentially affected resources, as required by NEPA and FLPMA.

11    260.     BLM’s actions and omissions noted above regarding its review and approval of the
12             Project, violate NEPA, FLPMA, and their implementing regulations. BLM’s actions
13             and omissions in reviewing and approving the Project are arbitrary, capricious, an
14             abuse of discretion, not in accordance with law, without observance of procedure
15             required by law, and in excess of statutory jurisdiction, authority, or limitations,
16             within the meaning of the judicial review provisions of the APA. 5 U.S.C. §§ 701-
17             706.
18                                    SIXTH CAUSE OF ACTION
19
      Violation of NEPA and FLPMA – Failure to Adequately Analyze Background/Baseline
20    Conditions
21
      261.     The allegations in the previous paragraphs are reasserted as if fully stated herein.
22
23    262.     In the FEIS and ROD, BLM failed to adequately and accurately analyze the

24             background/baseline conditions of resources that will be potentially affected by the

25             Project, including wildlife and water and air quality, as required by NEPA and

26             FLPMA.

27    263.     BLM’s actions and omissions noted above regarding its review and approval of the

28             Project, violate NEPA, FLPMA, and their implementing regulations. BLM’s actions

               and omissions in reviewing and approving the Project are arbitrary, capricious, an



                                                    66
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 1             abuse of discretion, not in accordance with law, without observance of procedure
 2             required by law, and in excess of statutory jurisdiction, authority, or limitations,
 3             within the meaning of the judicial review provisions of the APA. 5 U.S.C. §§ 701-
 4
               706.
 5
                                    SEVENTH CAUSE OF ACTION
 6
      Violations of NEPA and FLPMA – Failure to Ensure Compliance with Air and Water
 7    Quality Standards and Protect Public Resources
 8
      264.     The allegations in the previous paragraphs are reasserted as if fully stated herein.
 9
10    265.     BLM’s determination that the Project will comply with all applicable air and water

11             quality standards, based on an erroneous and factually-deficient NEPA analysis was

12             arbitrary and capricious, made without the consideration of all relevant factors, and

13             violates FLPMA and its implementing regulations.

14    266.     BLM’s actions and omissions in reviewing and approving the Project are arbitrary,

15             capricious, an abuse of discretion, not in accordance with law, without observance of
16             procedure required by law, and in excess of statutory jurisdiction, authority, or
17             limitations, within the meaning of the judicial review provisions of the APA. 5 U.S.C.
18             §§ 701-706.
19                                   EIGHTH CAUSE OF ACTION
20
      Violation of FLPMA and NEPA – Failure to Determine Reclamation Costs and Related
21    Financial Assurances
22
      267.     The allegations in the previous paragraphs are reasserted as if fully stated herein.
23
      268.     BLM’s failure to determine the amount of the Project’s full reclamation and related
24
               costs, as well as the Long Term Funding Mechanism (LTFM), as part of the ROD’s
25
               approval of the Plan of Operation violates FLPMA its implementing regulations.
26
      269.     BLM’s failure to determine the amount of the Project’s full reclamation and related
27
28             costs as part of the ROD’s approval of the mining Plan violates FLPMA, NEPA, and

               their implementing regulations.



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 1    270.      DOI/BLM’s actions and omissions in reviewing and approving the Project and ROWs
 2              are arbitrary, capricious, an abuse of discretion, not in accordance with law, without
 3              observance of procedure required by law, and in excess of statutory jurisdiction,
 4
                authority, or limitations, within the meaning of the judicial review provisions of the
 5
                APA. 5 U.S.C. §§ 701-706.
 6
                                       NINTH CAUSE OF ACTION
 7
 8    Violation of FLPMA – Authorizing Unnecessary or Undue Degradation

 9    271.      The allegations in the previous paragraphs are reasserted as if fully stated herein.

10    272.      The violations of NEPA, FLPMA, and other laws/regulations noted in this Complaint
11
                constitute “unnecessary or undue degradation” (UUD) that FLPMA prohibits.
12
                BLM’s failure to protect public resources as detailed above also violates the UUD
13
14              standard.

15    273.      BLM’s actions and omissions noted above regarding its review and approval of the

16              Thacker Pass Project, violate NEPA, FLPMA and its implementing regulations.
17
      274.      BLM’s actions and omissions in reviewing and approving the Project are arbitrary,
18
                capricious, an abuse of discretion, not in accordance with law, without observance of
19
20              procedure required by law, and in excess of statutory jurisdiction, authority, or

21              limitations, within the meaning of the judicial review provisions of the APA. 5 U.S.C.

22              §§ 701-70
23
                                        REQUEST FOR RELIEF
24
25    WHEREFORE, Plaintiffs pray that this Court:

26    A.     Declare that BLM’s actions, omissions, and decisions reviewing and approving the

27           Thacker Pass Project (including the Mine and Exploration Projects) and related actions

28           violate NEPA, FLPMA, and their implementing regulations;

      B.     Pursuant to the APA, set aside and Vacate the ROD, FEIS, and Project approvals.



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 1    C.     Enjoin Defendants, their agents, servants, employees, and all others acting in concert with
 2           them, or subject to their authority or control, from proceeding with any aspect of the
 3           Thacker Pass Project, pending full compliance with the requirements of federal law;
 4
      D.     Grant Plaintiffs their costs and reasonable attorneys fees incurred in bringing this action,
 5
             pursuant to the Equal Access to Justice Act (EAJA), 28 U.S.C. §2412 et seq., and any
 6
             other applicable statutory or equitable principles; and
 7
      E.     Grant such further relief this court deems just and proper.
 8
 9
      Respectfully submitted this 26th day of February, 2021.
10
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